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STATE OF LOUISIANA

ER: Po Qo -O SY OADIVISION “ ”
CALLEN J. CORTEZ

   

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LAMORAK INSURANCE COMPANY (as successor in interest to the liability for policies of
insurance issued by COMMERCIAL UNION INSURANCE COMPANY, COLUMBIA

CASUALTY COMPANY, EMPLOYERS COMMERGIAE UNION: INSURANCE:COMPANY,

and AMERICAN EMPLOYERS INSURANCE COMPANY):. HUNTINGTON, INGALLS
INCORPORATED (formerly NORTHROP GRUMMAN’ SHIPBUILDING; INC. formerly
NGRTHROP GRUMMAN SHIP SYSTEMS, INC. formerly, AVONDALE J INDUSTRIES, INC.
formerly AVONDALE SHIPYARDS, INC. formerly. ONDALE MARINE “WAYS: INC);

ALBERT J. BOSSIER, JR.; EAGLE, INC. (f/ik/a EAG 3, ASBESTOS & PACKING

COMPANY, INC.); BAYER CROPSCIENCE, INC. (successor TO RHONE POULENC AG
COMPANY formerly AMCHEM PRODUCTS, ING. formerly. BENJAMIN.FOSTER’,
COMPANY); FOSTER-WHEELER LLC (formerly. FOSTER- WHEELER. CORPORATION);
GENERAL ELECTRIC COMPANY; HOPEMAN BROTHERS, INC.; THE MCCARTY
CORPORATION (SUCCESSOR TO MCCARTY BRANTON, INC. AND’ PREDECESSOR
AND SUCCESSOR TO MCCARTY INSULATION 'SALES, INC.); TAYLOR- SEIDENBACH,
INC.; CBS CORPORATION (f/k/a WESTINGHOUSE ELECTRIC CORP.); UNIROYAL, ~~
INC.; INTERNATIONAL PAPER COMPANY; ANCO INSULATIONS, INC:; RILEY
POWER, INC. (formerly BABCOCK BORSIG POWER; ING. formerly: DB.RILEY, 5 INC.
formerly RILEY STOKER CORPORATION); OCCIDENTAL. CHEMICAL, CORPORATION
(formerly, HOOKER CHEMICALS & PLASTICS CORP. formerly HOOKER CHEMICAL
CORPORATION); SHELL OIL COMPANY; PHARMACIA LLC (formerly PHARMACIA
CORPORATION, INDIVIDUALLY AND AS SUCCESSOR’ TO MONSANTO COMPANY,
SUCCESSOR TO MONSANTO CHEMICAL COMPANY, AND SUCCESSOR TO LION OIL
COMPANY); VULCAN MATERIALS COMPANY; GOODRICH, ‘CORPORATION (f/k/a THE
BF GOODRICH COMPANY); AXIALL CORPORATION (DE) (f/k/a GEORGIA GULF
CORPORATION); TEXACO INC.; CF INDUSTRIES NITROGEN, LLC (f/k/a TERRA
MISSISSIPPI NITROGEN, INC., f/k/a MISSISSIPPI NITROGEN, INC., f/k/a TRIAD
NITROGEN, INC.); BASF CORPORATION f/k/a-INMONT CORPORATION f/k/a MEW. _—
CORPORATION (OF DELAWARE) f/k/a BASF WYANDOTTE CORPORATION fik/a: =:
WYANDOTTE CHEMICALS CORPORATION; HOUSTON:GENERAL INSURANCE2.212 fp on
COMPANY; BERKSHIRE HATHAWAY SPECIALTY: INSURANCE COMPANY (f/k/a: a
STONEWALL INSURANCE COMPANY), UNITED:STATES FIDELITY AND. GUARA) ag
COMPANY; FIRST STATE INSURANCE COMPANY:;, CONTINENTAL INSURANCE, mnt) iF
COMPANY (suecessor by merger to FIDELITY AND. CASUALTY COMPANY OF NEW
YORK); UNION CARBIDE CORPORATION; ENTERGY LOUISIANA, LLC; LIBERTY
MUTUAL INSURANCE COMPANY; TRAVELERS: INDEMNITY: COMPANY: LOUISIANA”:
INSURANCE GUARANTY ASSOCIATION; and THE CAJUN COMPANY

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PETITION FOR DAMAGES

The petition of Callen J. Cortez, a person of the full age of majority and resident of the
State of Louisiana, with respect represents:

1.

Defendants, Eagle, Inc. and Taylor-Seidenbach, Incorporated, are domestic corporations with
their registered offices in the Parish of Orleans, State of Louisiana. In addition, tortious conduct of
Eagle, Inc., Taylor-Seidenbach, Incorporated, The McCarty Corporation, and Halter Marine, Inc.,
occurred in the Parish of Orleans. Moreover, Henry “Zac” Carter, C. Edwin Hartzman, Hettie Dawes

  
 
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Eaves, Ewing Moore, and Harold P. Halter were domiciled in Orleans Parish at the time of their
deaths. Also, Halter Marine, Inc.’s and B&B Engineering and Supply Company of Louisiana, Inc.’s
registered office was located in the Parish of Orleans. Additionally, Mr. Cortez was exposed to
asbestos in the Parish of Orleans and received injury in the Parish of Orleans. Accordingly, venue
is proper in Orleans Parish against all defendants pursuant to Louisiana Code of Civil Procedure
Articles 42, 73, and 74.

2.

LAMORAK INSURANCE COMPANY (as successor in interest to the liability for policies
of insurance issued by COMMERCIAL UNION INSURANCE COMPANY, COLUMBIA
CASUALTY COMPANY, EMPLOYERS COMMERCIAL UNION INSURANCE COMPANY,
and AMERICAN EMPLOYERS INSURANCE COMPANY), HUNTINGTON INGALLS
INCORPORATED (formerly NORTHROP GRUMMAN SHIPBUILDING, INC. formerly
NORTHROP GRUMMAN SHIP SYSTEMS, INC. formerly AVONDALE INDUSTRIES, INC.
formerly AVONDALE SHIPYARDS, INC. formerly AVONDALE MARINE WAYS, INC.),
ALBERT J. BOSSIER, JR., EAGLE, INC. (f/k/a EAGLE ASBESTOS & PACKING COMPANY,
INC.), BAYER CROPSCIENCE, INC. (successor TO RHONE POULENC AG COMPANY,
formerly AMCHEM PRODUCTS, INC., formerly BENJAMIN FOSTER COMPANY), FOSTER-
WHEELER LLC (formerly FOSTER-WHEELER CORPORATION), GENERAL ELECTRIC
COMPANY, HOPEMAN BROTHERS, INC., THE MCCARTY CORPORATION (SUCCESSOR
TO MCCARTY BRANTON, INC., AND PREDECESSOR AND SUCCESSOR TO MCCARTY
INSULATION SALES, INC.), TAYLOR-SEIDENBACH, INC., CBS CORPORATION (fik/a
WESTINGHOUSE ELECTRIC CORP.), UNIROYAL, INC., INTERNATIONAL PAPER
COMPANY, ANCOINSULATIONS, INC., RILEY POWER, INC. (formerly BABCOCK BORSIG
POWER, INC. formerly DB RILEY, INC. formerly RILEY STOKER CORPORATION),
OCCIDENTAL CHEMICAL CORPORATION (formerly HOOKER CHEMICALS & PLASTICS
CORP. formerly HOOKER CHEMICAL CORPORATION), SHELL OIL COMPANY,
PHARMACIA LLC (formerly PHARMACIA CORPORATION, INDIVIDUALLY AND AS
SUCCESSOR TO MONSANTO COMPANY, SUCCESSOR TO MONSANTO CHEMICAL
COMPANY, AND SUCCESSOR TO LION OIL COMPANY), VULCAN MATERIALS
COMPANY, GOODRICH CORPORATION (f/k/a THE BF GOODRICH COMPANY), AXIALL
CORPORATION (DE) (f/k/a GEORGIA GULF CORPORATION), TEXACO INC., CF
INDUSTRIES NITROGEN, LLC (f/k/a TERRA MISSISSIPPI NITROGEN, INC., fik/a

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MISSISSIPPI NITROGEN, INC., f/k/a TRIAD NITROGEN, INC.), BASF CORPORATION fik/a
INMONT CORPORATION f/k/a MEW CORPORATION (OF DELAWARE) fi/k/a BASF
WYANDOTTE CORPORATION f/k/a WYANDOTTE CHEMICALS CORPORATION,
HOUSTON GENERAL INSURANCE COMPANY, BERKSHIRE HATHAWAY SPECIALTY
INSURANCE COMPANY (f/k/a STONEWALL INSURANCE COMPANY), UNITED STATES
FIDELITY AND GUARANTY COMPANY, FIRST STATE INSURANCE COMPANY,
CONTINENTAL INSURANCE COMPANY (successor by merger to FIDELITY AND
CASUALTY COMPANY OF NEW YORK), UNION CARBIDE CORPORATION, ENTERGY
LOUISLANA, LLC, LIBERTY MUTUAL INSURANCE COMPANY, TRAVELERS INDEMNITY
COMPANY, LOUISIANA INSURANCE GUARANTY ASSOCIATION, and THE CAJUN
COMPANY (hereinafter collectively referred to as “defendants”), are all corporations incorporated
under the laws of the various states of the United States. Defendants all have their principal place
of business in various states of the United States, as well as some foreign countries. All of them may
be served under and by virtue of the Long Arm Statute of the State of Louisiana, either through their
authorized agents, servants, and/or employees, or through the Secretary of State, State of Louisiana.
3.

From approximately 1969 through 1974, while Callen J. Cortez was a direct employee of
Huntington Ingalls Incorporated (formerly Northrop Grumman Shipbuilding, Inc., formerly,
Northrop Grumman Ship Systems, Inc., formerly, Avondale Industries, Inc., formerly Avondale
Shipyards, Inc., formerly Avondale Marine Ways, Inc.) (hereinafter “Avondale’”), Henry “Zac”
Carter, C. Edwin Hartzman, Ewing Moore, John McCue, Ollie Gatlin, Earl Spooner, James T. Cole,
Burnette “Frenchy” Bordelon, James O’Donnel, Peter Territo, George Kelmell, J. Melton Garrett,
Edward Blanchard, John Chantrey, Steven Kennedy, Dr. Joseph Mabey, Red Whittle, and Albert J.
Bossier, Jr., were executive officers of Avondale with the specific responsibility for the health and
safety of Callen J. Cortez and his fellow employees during the time Mr. Cortez was exposed to
substances which resulted in his mesothelioma and other ill effects related thereto. Henry “Zac”
Carter, C. Edwin Hartzman, Ewing Moore, John McCue, Ollie Gatlin, Earl Spooner, James T. Cole,
Burnette “Frenchy” Bordelon, James O’Donnel, Peter Territo, George Kelmell, J. Melton Garrett,
Edward Blanchard, John Chantrey, Steven Kennedy, Dr. Joseph Mabey, and Red Whittle haye since
died. Pursuant to Louisiana Revised Statute 22:1269, plaintiff herein asserts a direct ion against,
Lamorak Insurance Company (as successor in interest to the liability for policies of insurance se issued

by Commercial Union Insurance Company, Columbia Casualty Company, Employers Commercial

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Union Insurance Company, and American Employers Insurance Company) for the liability of
Avondale, J. Melton Garrett, as well as the following deceased executive officers: Henry “Zac”
Carter, C. Edwin Hartzman, Ewing Moore, John McCue, Ollie Gatlin, Earl Spooner, James T. Cole,
Burnette “Frenchy” Bordelon, James O’Donnel, Peter Territo, George Kelmell, J. Melton Garrett,
Edward Blanchard, John Chantrey, Steven Kennedy, Dr. Joseph Mabey, Red Whittle, and Albert J.
Bossier, Jr.

4.

Lamorak Insurance Company (as successor in interest to the liability for policies of
insurance issued by Commercial Union Insurance Company, Columbia Casualty Company,
Employers Commercial Union Insurance Company, and American Employers Insurance
Company), Houston General Insurance Company, Berkshire Hathaway Specialty Insurance
Company (f/k/a Stonewall Insurance Company), First State Insurance Company, and United
States Fidelity and Guaranty Company provided coverage to Eagle, Inc. for the liability asserted
herein, and plaintiff asserts a direct action pursuant to Louisiana Revised Statute 22:1269 against
these insurance companies for the liability of Eagle, Inc.

5.

Liberty Mutual Insurance Company and Travelers Indemnity Company provided coverage
to B&B Engineering and Supply Company of Louisiana, Inc. for the liability asserted herein, and
plaintiff asserts a direct action pursuant to Louisiana Revised Statute 22:1269 against Liberty
Mutual Insurance Company and Travelers Indemnity Company for the liability of B&B
Engineering and Supply Company of Louisiana, Inc.

6.

Plaintiff also makes claims against The Louisiana Insurance Guaranty Association
(“LIGA”), a private non-profit unincorporated legal entity created by LSA-R.S. 22:1375, which
is the legal successor to American Mutual Liability Insurance Company based upon policies of
insurance, included but not limited to, employers’ liability, commercial general liability
insurance policies and/or excess liability insurance policies sold by American Mutual Liability
Insurance Company to Gabler Insulations and/or Gabler Insulations, Inc. providing coverage for
the liability asserted herein. By order of the Massachusetts Supreme Judicial Court in Boston
dated January 17, 1989, Massachusetts Insurance Commissioner Roger M. Singer was appointed
Temporary Receiver of American Mutual Liability Insurance Company and on March 8, 1989,

Commissioner Singer was appointed Permanent receiver and an order of liquidation was granted.

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The court further found that American Mutual Insurance Company to be insolvent. LIGA was
subsequently appointed to handle and dispose of pending claims in Louisiana.
7.

From approximately 1974 through 1975, Callen J. Cortez was a direct employee of
Halter Marine, Inc. (hereinafter sometimes referred to as “Halter” or “Halter Marine”) and was
exposed to asbestos. During this time, Harold P. Halter, James A. Dubuisson, Jr., Floyd Naquin,
and Oliver Hebert were executive officers of Halter Marine with specific responsibilities for the
health and safety of Mr. Cortez and his fellow employees at the time Mr. Cortez was exposed to
the substances which resulted in his mesothelioma and other related ill health effects. Harold P.
Halter, James A. Dubuisson, Jr., Floyd Naquin, and Oliver Hebert are deceased. Likewise,

Halter Marine is no longer in business. Pursuant to the Louisiana Revised Statute 22:1269,
plaintiff herein asserts a direct action against Continental Insurance Company (successor by
merger to Fidelity and Casualty Company of New York) who, at all times material herein, was
the insurance carrier covering Halter Marine and the executive officers of Halter Marine for the
liability asserted herein. As stated above, Harold P. Halter, James A. Dubuisson, Jr., Floyd
Naquin, and Oliver Hebert were also the executive officers of Halter Marine with specific
responsibilities for the health and safety of Mr. Cortez and his fellow employees. They, too,
were covered for the liability asserted herein by Continental Insurance Company (successor by
merger to Fidelity and Casualty Company of New York), and plaintiff asserts a direct action
against this insurance company for the liability of these individuals as well as Halter Marine.
8,

Callen J. Cortez was employed in various positions by or on the premises of the following
companies, among others: Avondale from 1969 through 1974; and Halter Marine from
approximately 1974 through 1975. Throughout these time periods, Mr. Cortez was exposed to
asbestos. Also, Mr. Cortez was exposed to asbestos carried home on his person, clothing, and other
items. Additionally, while employed at Avondale, Mr. Cortez was exposed to asbestos while riding
to and from work with other Avondale employees whose person, clothing, and other items were
contaminated with asbestos. Prior to September of 1975, Mr. Cortez was exposed to asbestos on
a daily basis and he contracted mesothelioama as a result thereof, although it did not manifest itself
until 2020. These exposures to Mr. Cortez at Avondale and Halter Marine prior to September of
1975 caused and/or contributed to his development of mesothelioma and other related ill health

effects, although the disease did not manifest itself at that time. Mr. Cortez’s diagnosis of asbestos-

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related mesothelioma is directly attributable to his exposure to asbestos fibers prior to September of
1975. The medical evidence shows that Mr. Cortez began to sustain tissue damage shortly after the
inhalation of asbestos fibers and that he sustained distinct bodily injury in each year of his
occupational exposure to asbestos. On a daily basis during Mr. Cortez’s employment by or on the
premises of Avondale and Halter Marine he was exposed to dangerously high levels of toxic
substances, including asbestos, in the normal routine course of his work. At all times during Mr.
Cortez’s foregoing employment, he was exposed to asbestos and asbestos-containing products
manufactured, distributed, sold, and/or handled by “defendants.” Additionally, Mr. Cortez was
exposed to asbestos while riding to and from work at Avondale with other employees whose person,
clothing, and other items were contaminated with asbestos.
9.

Defendants, Avondale and Halter Marine, had the responsibility for the health and safety
of Callen J. Cortez and his fellow employees during the time Mr. Cortez was exposed to the
substances which resulted in his mesothelioma and other ill health effects related thereto.
Avondale and Halter Marine had the responsibility of providing Mr. Cortez with a safe place to
work; however, they failed to protect him from the dangers of asbestos exposure, for which
Avondale and Halter Marine are liable to plaintiff. Additionally, Avondale and its executive
officers and Halter Marine and its executive officers were aware or should have been aware of
the dangerous condition presented by exposure to asbestos and that Mr. Cortez would suffer from
asbestos-related diseases and other ill health effects associated therewith as a result of this
exposure, but they failed and/or willfully withheld from Mr. Cortez knowledge of the dangers to
his health from exposure to asbestos fiber.

10.

In addition to the foregoing acts of negligence and intentional concealment, Avondale and

its executive officers and Halter Marine and its executive officers are guilty of the following:

a) Failing to reveal and knowingly concealing critical medical information to
Mr. Cortez;

b) Failing to reveal and knowingly concealing the inherent dangers in the use of
asbestos and other harmful substances in their manufacturing process and/or
in connection with the work which exposed Mr. Cortez;

c) Failing to provide necessary protection to Mr. Cortez;

d) Failing to provide clean respirable air and proper ventilation;

a) Failing to provide necessary showers and special clothing;

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f) Failing to segregate work areas so that workers would not be exposed to
deadly asbestos fiber;

g) Failing to provide necessary and adequate respiratory protection;

h) Failing to warn employees of the dangers associated with exposure to
asbestos;

i) Failing to use non-asbestos containing products on jobs where non-asbestos
containing products were specified.

j) Requiring employees to dispose of asbestos in dumpsters, into the river, and
onto the land instead of properly disposing of asbestos and asbestos fiber,
thereby further exposing employees (and subsequently their family members)
to asbestos;

k) Requiring employees to dispose of asbestos under buildings instead of
properly disposing of asbestos and asbestos fiber, thereby further exposing
employees (and subsequently their family members) to asbestos;

h Failing to warn of the dangers of exposure to asbestos;

m) Requiring employees to dispose of asbestos without precautions to prevent
exposure;

n) Failing to post warnings regarding asbestos and the hazards of same;

0) Failing to warn employees that exposure to asbestos could cause deadly
diseases including mesothelioma, cancer, asbestosis, pleural thickening, and
pleural plaques; and

Pp) Failing to warn employees of the invisible nature of harmful asbestos, that it
could be carried home on clothing and other objects by a worker, and that it
could cause diseases such as asbestosis, pleural plaques, pleural thickening,
cancer, and mesothelioma.

These defendants and individuals committed these intentional acts knowing full well that Mr.
Cortez’s injuries would follow or were substantially certain to follow.

1.

Calise Cortez was the father of Callen J. Cortez. Calise Cortez was employed in various
positions by or on the premises of the following: B&B Engineering and Supply Company of
Louisiana, Inc. (“B&B”) from approximately 1966 through 1968; Gabler Insulations, Inc. (“Gabler”);
Anco Insulations, Inc. (“Anco”) from approximately 1968 through 1969; and The Cajun Company
(“Cajun”) from approximately 1970 through 1972. On a daily basis during these employments,
Calise Cortez was exposed to dangerously high levels of toxic substances, including asbestos, in the
normal routine course of his work. At all times during Calise Cortez’s foregoing employments, he

was exposed to asbestos and asbestos-containing products manufactured, distributed, handled, and

sold by “defendants”, and Callen Cortez was exposed to asbestos as a result thereof.
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12.

Ona daily basis throughout the of employment of Calise Cortez, Callen Cortez was exposed
to dangerously high levels of asbestos carried home on the person, clothing and other items of Calise
Cortez, through the contamination of the home as a result thereof, and through the handling and
washing of clothing of Calise Cortez and other objects, which exposure was a significant
contributing factor in Callex Cortez’s mesothelioma.

13.

B&B, Gabler, Anco, and Cajun had the responsibility of providing Calise Cortez with a safe
place to work and safety equipment with which to conduct his work (including but not limited to
disposable overalls and showers); however, they negligently and/or intentionally failed to carry out
these duties and failed to protect Calise Cortez from the dangers of toxic fiber and dust exposure,
and failed to protect family members including Callen Cortez from said exposures to asbestos and
toxic fiber.

14,

B&B, Gabler, Anco, and Cajun were aware or should have been aware of the dangerous
condition presented by exposure to asbestos and that Callen Cortez (and other similarly situated
family members of its working force) would suffer from asbestos-related pulmonary disease,
asbestosis, pleural plaques, pleural thickening, lung cancer, mesothelioma, and other ill health effects
as a result of this exposure, but they failed and/or willfully withheld knowledge of the dangers to
their health from exposure to asbestos fiber and other toxic substances.

15.

In addition to the foregoing acts of negligence and intentional concealment, B&B, Gabler,
Anco, and Cajun are guilty of the following:

a) Failing to reveal and knowingly concealing critical
information from Calise Cortez and Callen Cortez, including
the ability to expose family members to asbestos through
clothing and other objects of its workers;

b) Failing to reveal and knowingly concealing the inherent dangers in
the use of asbestos and other harmful substances in their

manufacturing process;
c) Failing to provide necessary protection to Calise Cortez and
Callen Cortez, as well as to other family members;
d) Failing to provide clean, respirable air and proper ventilation;
e) Failing to provide protective or disposable clothing and

showers to its employees so that asbestos fiber would not be
brought home to family members;

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h Failing. tc.edivise employees that deadly asbestos fiber could
be brought home to their family members;

g) Wanton and reckless disregard in the storage, handling, and
transportation of asbestos;

h) Requiring employees to dump asbestos into the Mississippi
River instead «# properly #isposing of asbestos and asbestos
fiber, thereby further exposing employees (and subsequently
their family members) to asbestos;

i) Requiring employees to dispose of asbestos in dumpsters
instead of properly disposing of asbestos and asbestos fiber,
thereby further exposing employees (and subsequently their
family members) to asbestos;

i) Requiring employees to dispose of asbestos under buildings

instead of properly disposing of asbestos and asbestos fiber,
thereby further exposing employees (and subsequently their

family members) to asbestes;

k) Failing to warn of the dangers of exposure to asbestos;

1) Failing to warn employees and their families that asbestos
fiber could be brought home on clothing and other objects,
could expose innocent family members, and could cause
deadly diseases to family members including mesothelioma,
asbestosis, pleural thickening, and pleural plaques; and

m) Failing to warn employees of the invisible nature of harmful
asbestos, that it could be carried home on clothing and other
objects by a worker, and that it could cause diseases such as
asbestos-related pulmonary disease, asbestosis, pleural
plaques, pleural thickening, pleurisy, diagphragmatic
calcifications, cancer, and mesothelioma.

B&B, Gabler, Anco, and Cajun intentionally or negligently committed these acts knowing
full well that Callen Cortez’s injuries would follow or were substantially certain to follow.

16.

In addition to the acts of negligence, strict liability, intentional tort, and fault identified
throughout this petition, B&B, Gabler, Anco, and Cajun are strictly liable for their care, custody,
and control of asbestos. B&B, Gabler, Anco, and Cajun failed to properly handle and contro] the
asbestos which was in their custody. B&B, Gabler, Anco, and Cajun were aware or should have
been aware of the dangerous condition presented by exposure to asbestos, and that Calise Cortez
and his family members would be exposed to asbestos and that family members, including Callen
Cortez, would suffer from asbestos-related diseases and other ill health effects associated
therewith as a result of these exposures, but they failed and/or willfully withheld knowledge of

the dangers to their health from exposure to asbestos fiber.
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17.

As a result of these exposures to asbestos, Callen Cortez contracted mesothelioma which

was first diagnosed on approximately June 2, 2020.
18.

Avondale and its executive officers and Halter Marine and its executive officers were aware
or should have been aware of the dangerous condition presented by exposure to asbestos and that
Callen Cortez would suffer from asbestos-related disease, including mesothelioma, lung cancer,
cancer, and other related ill health effects, as a result of this exposure, but they failed and/or willfully
withheld from Mr. Cortez knowledge of the dangers to his health from exposure to asbestos fiber
and other toxic substances.

19.

Avondale and its executive officers and Halter Marine and its executive officers had the
responsibility of providing Callen Cortez with a safe place to work and safety equipment with which
to conduct his work; however, they negligently and/or intentionally failed to carry out these duties
and failed to protect Mr. Cortez from the dangers of toxic fiber and dust exposure knowing full well
or being substantially certain that certain workers, including Mr. Cortez, would develop disease as
a result thereof.

20.

All defendants had care, custody, and control of the asbestos, which asbestos was defective
and which presented an unreasonable risk of harm, which asbestos resulted in the injury of Callen
Cortez and for which these defendants are strictly liable under Louisiana law.

21.

Defendants, Avondale and its executive officers and Halter Marine and its executive officers,
are answerable for the conduct of those handling asbestos products on their premises, which asbestos
was defective and which presented an unreasonable risk of harm, which asbestos resulted in the
injury to Callen Cortez, and for which defendants are liable under Louisiana law.

22.

Avondale and its executive officers and Halter Marine and its executive officers failed to
exercise reasonable care for the safety of persons on or around their property and failed to protect
Callen Cortez from the unreasonably dangerous conditions created by asbestos which existed at
their job sites due to their failure to properly handle and control the asbestos which was in their

care, custody, and control. At all times material herein, standards were in existence which
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required Avondale and its executive officers and Halter Marine and its executive officers herein
to provide to Mr. Cortez and his co-workers who handled or were exposed to harmful material
with protection from the harms of asbestos. Avondale and Halter Marine failed and/or willfully
refused to comply with these standards thereby resulting in exposure to asbestos to Mr. Cortez,
thereby resulting in his injuries.

23.

Defendants, Lamorak Insurance Company (as successor in interest to the liability for policies
of insurance issued by Commercial Union Insurance Company, Employers Commercial Union
Insurance Company, and American Employers Insurance Company}, Houstos General Insurance
Company, Berkshire Hathaway Specialty Insurance Company (f/k/a Stonewall Insurance Company),
United States Fidelity and Guaranty Company, First State Insurance Company, and Continental
Insurance Company (Successor by Merger to Fidelity and Casualty Company of New York),
Travelers Indemnity Company, and Liberty Mutual Insurance Company knew or should have known
of the hazardous health effects of asbestos, but failed to inform or intentionally concealed that
information from Mr. Cortez and his fellow co-workers.

| 24.

As a result of the aforementioned acts of the hereinabove named defendants, Mr. Cortez
contracted asbestos-related mesothelioma, and other related ill health effects as a result thereof, for
which all defendants are jointly, severally, and in solido liable.

25.

 

At all times material herein, Callen Cortez was exposed to asbestos manufactured,
distributed, and sold by Hopeman Brothers, Inc. and Wayne Manufacturing Company. The asbestos-
containing products manufactured, distributed and/or sold by Hopeman Brothers, Inc. and Wayne
Manufacturing Company were unreasonably dangerous per se, were defective in design, and

- constituted a breach of warranty from said manufacturers. Further, these defendants failed and
refused to warn Mr. Cortez of the danger of exposure to such products. They also failed to warn
them of the invisible nature of the asbestos and that is could cause deadly diseases such as
mesothelioma and cancer. As a result of the defective and unreasonably dangerous condition and
composition of the asbestos-containing products manufactured, distributed, sold, and/or used by
these companies, Mr. Cortez was exposed to asbestos fibers proximately causing his mesothelioma,
cancer, and other related ill health effects. Plaintiff further contends that said defendants are liable

as a result of manufacturing, distributing, or selling an unreasonably dangerous per se product, a

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product defective in design, for breach of warranty, and for failing to provide adequate warnings and
instructions. Further, defendants are liable for failing to substitute available alternative products and
for fraudulently concealing the dangers of their products and the health hazards associated with the
use and exposure to said products.

26.

During Mr. Cortez’s employment with Avondale, Hopeman Brothers, Inc, also performed
contracting work wherein asbestos-containing products were used. During this contracting work,
Hopeman Brothers, Inc. exposed Mr. Cortez to asbestos-containing products, which caused and/or
contributed to his asbestos-related diseases and other related ill health effects. Defendant, Hopeman
Brothers, Inc., had care, custody, and control of the asbestos, which asbestos was defective and
which presented an unreasonable risk of harm, which asbestos resulted in injury to Mr. Cortez and
for which Hopeman Brothers, Inc. is strictly liable under Louisiana law. Moreover, defendant,
Hopeman Brothers, Inc., is answerable for the conduct of those handling asbestos products over
which it had control, which asbestos was defective and which presented an unreasonable risk of
harm, which asbestos resulted in injury to Mr. Cortez and for which defendant is strictly liable under
Louisiana law.

27.

Inaddition to the aforementioned acts of negligence, intentional tort, fraud, and strict liability
of Hopeman Brothers, Inc. and Wayne Manufacturing Co., Hopeman Brothers, Inc. is also liable
because Wayne Manufacturing Corporation was the alter ego of Hopeman Brothers, Inc. at all time
material herein.

28.

Plaintiff also makes additional allegations against Hopeman Brothers, Inc. who was
aware of the risk of harm presented by its asbestos products. Hopeman Brothers, Inc. either
through exchange of information and/or industry sponsored studies was notified, either directly
by its parent companies or by its manufacturing associations, that their products presented an
unreasonable risk of harm. However, Hopeman Brothers, Inc. disregarded these notices, elected
to conceal these hazards from plaintiff and other workers, and continued to use and hold out
these products as safe and non-toxic.

29.
Hopeman Brothers, Inc. was informed that asbestos dust presented health risks by the

U.S. Government or agencies acting on behalf of the U.S. Government no later than 1945. The

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U.S. Government issued advisories, through the U.S. Maritime Commission, to all government
contractors regarding their findings of enumerated health risks in the work place. During.the
1950s, the Department of Defense adopted and distributed to all government contractors, safety
standards that pertained to the use of these defendants' products in various work places. In 1952,
Louisiana adopted a workers compensation remedy for asbestosis. In the 1960s, the U.S.
Government promulgated and published the Walsh-Healy Act which adopted safety standards
and regulations regarding asbestos dust. Based on information and belief, each of these
companies, their predecessor, and corporation officers were made aware of these findings at the
time they were issued. Despite this knowledge, these companies continued to manufacture,
distribute, relabel, fabricate, sell and install these products at plaintiff's worksites. This was done
without warning to plaintiff and without the knowledge on the part of the plaintiff that he was in
danger. Additionally, these defendants continued to market their products without disclosing the
dangers and simultaneously affirming that their products were safe and non-toxic.

30.

International Paper Company is the successor to U.S. Plywood. Throughout the time he
was employed at Avondale, Mr. Cortez was exposed to asbestos fiber from asbestos-containing
materials manufactured, distributed, and/or sold by U.S. Plywood. At the time of his exposure to
these products, they were being used in the manner and for the purpose for which they were
intended, and these products were in the same condition as when they left the control and
possession of U.S. Plywood.

31.

The asbestos-containing products manufactured, distributed and/or sold by U.S. Plywood .
were unreasonably dangerous per se, were defective in design, and constituted a breagh,of.
warranty from said manufacturer. Further, U.S. Plywood failed and refused to warn of the.
danger of exposure to such products. They also failed to warn of the invisible nature of the
asbestos and that it could cause deadly diseases such as lung cancer, asbestosis, and
mesothelioma.

32.
- During Callen Cortez’s exposure, defendant, Westinghouse Electric Corporation (now
CBS Corporation, hereinafter “Westinghouse”), was in the business of manufacturing, selling
and/or distributing asbestos-containing materials to the employers of Callen Cortez and/or to the

owners of the premises where he worked, throughout his employment history. Such products

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were installed, removed, and repaired by or in close proximity to Callen Cortez during his
employment, thus exposing him to asbestos dust released by the installation, removal, and repair
of said products. Throughout the time Callen Cortez was employed, he was exposed to asbestos
fiber from these asbestos-containing materials manufactured, distributed, and/or sold by
Westinghouse. At the they were exposed to these products, they were being used in the manner
and for the purpose for which they were intended; and these products were in the same condition
as when they left the control and possession of Westinghouse.

33.

The asbestos-containing products manufactured, distributed and/or sold by Westinghouse
were unreasonably dangerous per se, were defective in design, and constituted a breach of warranty
from said manufacturer. Further, Westinghouse failed and refused to warn Mr, Cortez of the danger
of exposure to such products. They also failed to warn of the invisible nature of the asbestos and that
it could cause deadly diseases such as lung cancer, asbestosis, and mesothelioma.

34.

Plaintiff further alleges that Westinghouse has through its actions sought to fraudulently
conceal and suppress the truth about the dangerous nature of its asbestos contaiing products that
it manufactured, sold and distributed.

35.

By the early 1940s, Westinghouse knew that exposure to asbestos could cause lung
disease, asbestosis, lung cancer, and mesothelioma. Throughout the 1930s, 1940s, and 1950s,
Westinghouse was a member of the IHF, American Ceramic Society and National Safety
Council. Beginning in the 1930's, Westinghouse received asbestos scientific and medical
information through these organizations.

36.

The “Air Hygiene Foundation”, was established in 1935 as a fellowship within the
Mellon Institute (then a part of the University of Pittsburgh). The organizations' name was
changed to "Industrial Hygiene Foundation" and, in 1968, it was again changed to the “Industrial
Health Foundation.” J-M joined in 1936. [HF members included, among others, General
Electric Company, Westinghouse Electric Corporation, or their predecessors in interest. All of
these companies are defendants in this case. The IHF was founded to conduct occupational
health research, particularly with respect to the health effects of dust in the work place. One of

the functions of the IHF was to gather and disseminate information regarding accupational health —

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to its members. Since its inception, it has published special bulletins on items of general interest
under the headings of legal bulletins, medical bulletins, management bulletins and engineering
bulletins. Since 1937, member companies have been kept informed on occupational health
issues by the Industrial Hygiene Digest, a monthly publication which is sent to all members in
return for their annual membership fee. The Digest is a compilation of abstracts, grouped by
topic, of the published domestic and foreign scientific and medical literature pertaining to
industrial health and hygiene. In addition to scientific abstracts, the Digest included a section on
legal developments, and also provide notice of any proposed changes in threshold limit values for
various substances. Correspondence between members and the IHF established that members
either participated in or knew of a number of studies and surveys dating as far back as the 1930's
which had linked asbestos with various lung diseases. As part of its consultative services for its
members, the IHF undertook a number of studies involving evaluations of asbestos dust
conditions and asbestos-related disease. In 1947, the fruits of an industry survey cenrlucted hy
the IHF for the ATI and its members were published in a "Report of Preliminary Dust Survey for
Asbestos Textile Institute." The report is dated June 1947. The object of the investigation was
stated as: "defining the specific nature and the magnitude of the (asbestosis) problem in all its
phases....An original objective of most immediate importance was to facilitate the exchange of
information between member companies on successful methods of dust control and otherwise to
promote a general improvement in that field." The preliminary survey to be divided into three
parts designated as "Engineering, Medical and Physical Testing" was based on visits made to
member companies’ plants over a three month period." While the actual report does not reveal
the identity of the plants which were visited, deposition testimony of Dr. Braum indicates that
other companies evaluated in the report included defendants in this case. Minutes of the Air
Hygiene Committee meetings throughout the 1940's and 1950's reflect frequent discussions and
presentations pertaining to appropriate medical practices and industrial hygiene approaches to the
problem of asbestos dust in the work place. It was continually stressed that both pre-employment
and periodic follow-up medical examinations were essential to monitor the health of employees,
the necessity of x-rays and lung function studies, and the prope? requisites for a diagnosis of
asbestos-related disease. Some annual meetings apparently were held by the IHF. The minutes
for the Fifth Annual Meeting of the Air Hygiene Foundation of America, Inc., which was held on
November 12 and 13 in 1940, revealed asbestos to be one of its two main topics of interest. An

Interim Report of the Preventive Engineering Committee, written by Philip Drinker, discussed

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inter alia dust particle size and dust control. A second report by Foundation Research at the
Saranac Laboratory entitled "Individual Susceptibility to Toxic Dusts", authored by Dr. Leroy
Gardner, dealt primarily with the problems of silica dust. Also discussed were court decisions on
Workers' Compensation cases. A case involving the death of a North Carolina man was
discussed, the minutes indicating that the claimant sought compensation on grounds that the
defendant's pneumonia was due to asbestosis. The Supreme Court of North Carolina upheld the
award finding that asbestosis was a contributing cause of death. The Air Hygiene committee also
recommended that pre-employment and periodic chest x-rays be conducted by a reputable
radiologist, that the use of the Greenberg-Smith Midget Impinger be adopted for testing the
levels of dust in the air, and that various procedures be implemented to reduce the dust in
manufacturing facilities. In December of 1946, Mr. Hemeon of the Industrial Hygiene
Foundation was invited to attend a meeting of the American Textile Institute (discussed infra) to
respond to inquiries regarding IHF's proposed Industrial Hygiene Survey of tse member
companies. It was agreed at the February 5, 1947, meeting of the American Textile Institute
(ATI) that the IHF be permitted to conduct its proposed survey. A June 18, 1947 report by W. C.
L. Hemeon, Head Engineer for IHF, stated that the medical review reflected an incidence of
asbestosis ranging between 3% and 20%. In one presentation at a regular meeting (prior to 1950)
of the IHF, the suggested threshold limit value was criticized as being unsafe for persons exposed
to asbestos fiber. Defendants thus had direct and actual knowledge that the suggested threshold
limit value for asbestos was not safe. In addition, this criticism was published in the scientific
literature and all defendants were put on notice of the hazards of the suggested threshold limit
value.

37.

In addition, Westinghouse and/or its medical director and industrial hygienist became
members of the Konicide Club from 1932 through 1940. The Konicide Club was created to
understand and control the dust related diseases in the industry, and the members would meet to
discuss the methods of accomplishing these goals. On January 22, 1939, The Konicide Club
even conducted a meeting which focused on the health problems of the asbestos industry in
particular.

38.
Also, Westinghouse’s industrial hygienist, E.C. Barnes, wrote to Westinghouse’s medical

department in the 1940s regarding the high dust levels associated with asbestos cloth and the

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mixing of asbestos cement. Barnes further explained that the inhalation of asbestos dust could
cause asbestosis, and he recommended that this hazard be minimized. Westinghouse was also
aware of the dust problems associated with the use of the asbestos cloth on turbines. However,
from 1946 through the late 1970s, Westinghouse failed to control or reduce the dust created from
the asbestos cloth, v#iext, and other aghestos-components of its products at the various jobsites,
and failed to warn with regard to these hazards.

39,

In 1953, Westinghouse produced its Asbestos Safe Practice Data Sheet, thus further
evidencing Westinghouse’s knowledge of the hazards associated with asbestos exposure. Also in
1953, Westinghouse acknowledged that it had a duty to warn contractors, who lacked the
knowledge of potential hazards. However, Westinghouse still never warned the contractors nor
the various jobsites of the hazards associated with exposure to asbestos.

40.

Westinghouse was also aware of the excessive dust produced from its Micarta product
during the 1950s, as indicated in a letter from H.W. Speicher to James McClimans, a safety
sapervisor. In 1973, Westinghouse conducted dust studies at the Micarta facility and recorded
high levels of airborne and settle asbestos-containing dust from the circular saw trimming of
Micarta. Nevertheless, Westinghouse failed and refused to warn of health hazards of its
asbestos-containing Micarta, and suppressed this information.

Al,

Additionally, Westinghouse knew that asbestos was dangerous in the 1940s and began a
program to clean up the manufacturing process in their plants in the 1950s while continuing to
manufacture asbestos-containing products. Westinghouse began manufacturing asbestos-
containing wallboard systems in 1956 until the mid 1970s. Prior to 1972, Westinghouse failed to
provide any warning regarding the asbestos hazard with its products. In 1972, in response to
Occupational Safety and Health Administration ("OSHA") regulations, Westinghouse applied
warning labels that would necessarily be obscured by the substrate of the wallboard system,
thereby appearing to comply with OSHA regulations without actually warning the end users of
the inherent dangers of Westinghouse's asbestos-containing products. Subsequent to this activity,
Westinghouse learned through in-house counsel that there existed numerous documents that
would implicate Westinghouse for its actions. These documents reflected early knowledge on

the part of Westinghouse and contained product manufacturing information, air samples studies,

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architectural reports, work papers, old work files, and other similar materials. It was determined
that all such documents be destroyed, despite Federal Regulations requiring their retention. This
document destruction was done with the specific intention of defrauding asbestos victims and the
courts before which Westinghouse would undoubtedly appear. In the past, Westinghouse has
refused to respond to plaintiff's request for the production of these documents principally on the
basis that said documents did not exist due to their destruction. Accordingly, plaintiff alleges
that Westinghouse's conduct constitutes fraud under Louisiana law.

42,

Additionally, even when OSHA cited Westinghouse with willful, asbestos-related
violations during 1970s at its Hampton Micarta plant and in the 1980s at the Lester turbine and
blanket plant. Regarding these incidents, Westinghouse’s attorneys maintained that
Westinghouse would not comply with either the EPA or OSHA and would take an attitude of
“respectful noncompliance”,

43.

Westinghouse has engaged in a pattern of suppressing information with regard to its
asbestos-containing products and the health hazards associated with same. Jeffrey J. Bair of
Westinghouse states in what is known as “The Smoking Gun” documents that the Industrial
Hygiene Department files, dating back to 1930, have been reviewed. After a general description
of the categories of documents reviewed, Mr. Bair provides a discussion of the nature of these
documents. The following are quotes from that discussion:

The majority of the documents in Industrial Hygiene’s files are potential “smoking

gun” documents. This is so because of the nature, duties, obligations and

responsibilities of the Industrial Hygiene Department. The approximately 57

years of Industrial Hygiene files which are in existence today are filled with

technical information, procedural information, safe-handling information, hazard

information, recommendations and tests results. The files are filled with

documentation which critiques and criticizes, from an industrial hygiene -

perspective, Westinghouse manufacturing and non-manufacturing operations.

This documentation often times points out deficiencies in Westinghouse

operations and suggests recommendations to correct these deficiencies. Industrial

Hygiene’s files contain information which details the various chemical substances

used at Westinghouse sites over the years, and often times the inadequacies in

Westinghouse’s use and handling of the substances. The files contain many years

of employee test results, some of them unfavorable. Industrial Hygiene, by

performing its job, creates, daily, potential smoking gun documents (emphasis
added).

Plant Correspondence and Files

Please see, for example, Wilber Speicher’s letter...correspondence of this type was
and continues to be, frequently generated by Industrial Hygiene. Dr. Speicher’s
correspondence might show early knowledge of the Corporation to certain health
hazards associated with epoxy resin dissolving agents. What use did the

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Corporation make of this knowledge to protect employees and the public? If none
or very little, then this document might become a “smoking gun” (emphasis
added).

Industrial Hygiene audit and trip reports certainly qualify as potential smoking
guns (emphasis added). Industrial Hygiene, in each plant audit, critiques and
criticizes the facility from an industrial hygiene perspective. Industrial Hygiene
also makes recommendations to improve the hygiene of the plant. The smoking
gun possibilities of such documentation are readily apparent (emphasis added).
Material Cards, Materials Safety Data Sheets. Purchasing [sic] Department

Ss ecification Cards, Safe Practice Data Sheets and Historical Safe Practi ata
Sheet Files

Again, the smoking gun possibilities of these documents are clear. If, for
example, the safe practices detailed in safe practice data sheets are not made a part
of a site’s industrial hygiene program and communicated to employees, the
potential future problems are readily apparent. In addition, if the information is
not or was not conveyed to customers, the public, etc., again the potential future

problems are readily apparent (emphasis added).
Recommendations

Plant Correspondence Files (excluding air sampling data and. employee test results
such as bio-assay, radiation, etc.)

These records are not required pursuant to any federal, state or local Jaws and/or
regulations. The Westinghouse domestic records retention guidelines do not
specifically address these records. We recommend that all such files generated
prior to 1974 should be discarded. As stated before, these records are filled with
documentation dating back to the 1930’s which critiques and criticizes
Westinghouse operations, and points out deficiencies in such operations. The
files are filled with technical product and chemical information, hazard
information and safe-handling information, most of it generated by the industrial

iene De ent in a “editorializing” and opinionated manner. The files are
not used in the daily operation of the Department. In our opinion, the risks of
keeping these files on the whole substantially exceed the advantages of
maintaining the records for the following reasons:

The substantial bulk of the correspondence was written by the Department in an
editorializing, opinionated and verbose manner, instead of strictly factual. In
addition, the Industrial Hygiene Daparteeat, prior to 1974, was involved in
testing and evaluating the safety of everything from water coolers to gloves. From
a review of the files, it appears that the Department commented and editorialized
on just about everything which might have been found in the workplace. This _
“self-analysis” and “editorializing” type of information can be dangerous. This is
just the type of documentation which should be discarded from the files.
Correspondence generated subsequent to 1974, generally speaking, does not suffer
from these drawbacks.

“Historical Files or Industrial Hygiene Department”

These records are not required pursuant to any federal, state or local laws and/or
regulations. The Westinghouse domestic Records Retention Guidelines do not
specifically address these records. We recommend that, with the exception of the
1974 noise survey and the testing date which is contained in these files, these files
be discarded.

Bair’s Conclusions

Toxic tort litigation, including toxic tort-related workmen’s compensation

litigation, show no signs of abating in the near future. In fact, legislation such as
the risk notification legislation currently being considered by Congress, will,
according to many “experts”, result in an increase in such litigation.
Consequently, well reasoned and conceived document retention and destruction

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programs for departments such as Industrial Hygiene, and in fact the entire
Corporation, are imperative.

Bair’s conclusion clearly shows that Westinghouse fraudulently destroyed relevant
documents all in furtherance of its fraudulent activities whereby it misrepresented the dangers of
its asbestos-containing products in order to gain a commercial advantage, i.e. sell more of its
dangerous products. More importantly, his conclusion shows that Westinghouse had motive for
destroying the documents, which was avoiding litigation and having to answer fraud allegations
therein.

44,

It is well-settled that parties have a duty to preserve discoverable evidence, both during
and prior to litigation, if it is reasonably foreseen that litigation will occur. Westinghouse knew
litigation was likely to occur and destroyed their documents in anticipation therof. This activity
amounts to fraud and spoliation. In fact, at least one court has already found that the activities set
out in the Jeffrey Bair memo demonstrate a “plan to commit a fraud on the Courts of the United
States.”

45.

The document destruction program set out in Bair’s memo was actually implemented by
Westinghouse, as is evidenced by a memorandum entitled “Document Retention” that was
written by Wayne C. Bickerstaff on January 29, 1988, directed to J.W. Fisch and copied to S.R.
Pitts and Jeffrey Bair. On March 3, 1988, Jeffrey Bair wrote another memo, indicating that he
had “informed Wayne to begin discarding [certain documents.” Theee acts of intentional
destruction of records by Westinghouse in order to avoid public knowledge that it had knowledge
of health hazards associated with its products constitute fraud under the laws of the state of
Louisiana.

46.

During Callen Cortez’s exposure, defendant, General Electric (“GE”), was in the business
of manufacturing, selling and/or distributing asbestos-containing materials to the employers of
Mr. Cortez and/or to the owners of the premises where he worked, throughout his entire
employment history. Such products were installed, removed, and repaired by or in close
proximity to Callen Cortez during his employment, thus exposing them to asbestos dust released

__ by the installation, removal, and repair of said products. Throughout the time he was employed,

Mr. Cortez was exposed to asbestos fiber from these asbestos-containing materials manufactured,

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distributed, and/or sold by GE. At the time of his exposure to these products, they were being
used in the manner and for the purpose for which they were intended, and these products were in
the same condition as when they left the control and possession of GE.

47. |

The asbestos-containing products manufactured, distributed and/or sold by GE were
unreasonably dangerous per se, were defective in design, and constituted a breach of warranty
from said manufacturer. Further, GE failed and refused to warn Mr. Cortez of the danger of
exposure to such products. They also failed to warn of the invisible nature of the asbestos and
that it could cause deadly diseases such as lung cancer, asbestosis, and mesothelioma.

48.

Plaintiff further alleges that General Electric has through its actions sought to fraudulently
conceal and suppress the truth about the dangerous nature of its asbestos containing products that
it manufactured, sold, and/or distributed.

49.

Furthermore, as scientists became more concerned with the connection between asbestos
and occupational exposure, General Electric, along with others in the asbestos industry,
sponsored both animal and human research on the biological effects of asbestos at the Saranac
Laboratory of the Trudeau Foundation. General Electric’s association with the Saranac
Laboratory extends at least to the 1940s, where Saranac Laboratory correspondence documents
the contractual relationship between the Laboratory and General Electric. This research
performed by the Saranac Laboratory revealed that exposure to asbestos produced harmful effects
to those individuals who inhaled asbestos dust. More specifically, the Saranac Laboratory held
the Seventh Saranac Symposium in 1952, whereupon General Electric representatives attended.
The presentations by various doctors indicated that a link existed between asbestos and several
lung diseases, including asbestosis and lung cancer.

In his presentation at the Seventh Saranac Laboratory in 1952, Dr. Kenneth M. Lynch
indicated that he tested the effects of asbestos from a period of twenty five years (1926-1950).
The testing resulted in the knowledge of a causal relationship between asbestos and cancer in
1934. This discovery was formally set in a published record. Additionally, in 1947, Dr. Lynch
discovered that 13.2% of persons suffering from asbestosis also developed cancer. Furthermore,

_ Dr. Lynch spoke of several reports, dated from 1918 to 1952, discussing the association of cancer

with asbestos.

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Also, Dr. Merewether began noting the deaths from asbestos exposure in the United
Kingdom during the years of 1924 to 1947, including asbestos with tuberculosis and asbestos
with lung cancer. Wr. Merewether dizceversd that 16.2% of persons suffering from asbestosis
also developed cancer, as apposed to the 13.2% found earlier, thus further indicating a causal
relationship between exposure to asbestos dust and lung cancer. In addition, Dr. Merewether
discussed the original cases of asbestosis discovered around 1902. Another doctor, Dr. Arthur J.
Vorwald, discussed the discovery of asbestosis in the early 1900s and the availability of
information concerning the disease through several reports, ever since. Dr. Vorwald also

| admitted that individuals exposed to asbestos fibers develop asbestosis. Thus, General Electric’s
attendance at the Seventh Saranac Symposium in 1952 indicates that it knew, or at least should
have known, of the hazardous nature of asbestos in causing asbestosis and lung cancer. Despite
. this knowledge, General Electric failed to warn its workers and customers of the harmful effects
that result from the inhalation of asbestos fibers.
50.

General Electric contracted Harvard University to conduct research regarding the various
hazards existing in their plants. Dr. Alice Hamilton, along with other Harvard medical doctors,
conducted the research for General Electric. She recommended that chest,x-rays be taken of all
employees working with asbestos. She additionally recommended an overhaul in the ventilation
system on certain apparatus at their plants due to the hazardous nature of asbestos fibers and the
fact that moving belts blew the asbestos dust about the room so that it accumulates in the room.
Also, in the 1930s, asbestos victims began to sue Johns-Manville and Multibestos because of
their asbestos-related illnesses. As a result, Dr. Hamilton wrote to Gerald Swope, President of
General Electric, informing him that these suits were justified. She further recommended that
General Electric take safety precautions, including an evaluation of the situation and dust counts,
to avoid this litigation. |

Furthermore, Carl Obermaier, a GE plant manager, wrote to Hamilton acknowledging and
admitting that he knew that inhalation of asbestos dust caused health problems, mainly
asbestosis. Furthermore, Obermaier spoke of reports and pamphlets discussing the connection
between asbestos exposure and lung cancer. Several letters, dated years 1928 - 1934, between
Hamilton and GE indicate that GE was well aware of the excessive asbestos dust contained
inside their various plants. Thus, GE had knowledge that asbestos dust was harmful, but still

refused to warn its employees and its customers to whom it sold its asbestos-containing products.

30

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51.

Throughout the relevant time periods, GE conducted various asbestos tests in their
different plants, further indicating that they knew that asbestos was hazardous since they tested
for levels of asbestos dust. Also, when tested, several times GE ran well above the maximum
allowable level. For example, a survey done in 1973 of several GE plant buildings found an
asbestos dust concentration count-of 1540 fibers greater than five microns per milliliter of air,
when the threshold limit value for asbestos at that time was five fibers greater than five microns
per milliliter of air. GE was also aware that large quantities of asbestos fiber would blow into the
exhaust system. Many times GE chose to use the cheaper asbestos fiber in the plants, even
though the cheaper fiber produced more dust into the exhaust system. However, GE, knowing of
the harmful effects of asbestos, still refused to warn those individuals/workers who would come
into contact with their products. Instead, they used these cheaper asbestos fibers attempting to
profit at the expense of those individuals who would inhale these fibers from their products.

As aresult of the tests conducted at General Electric’s plants, various recommendations were
given to GE during the 1950s to 1970s, including the improvement of ventilation (including
exhaust systems), periodic chest X-rays, pulmonary function tests, medical surveillance
programs, wearing of an approved respirator, gloves, and protective clothing, increasing air flow,
better maintenance of dust filters, use of industrial vacuum to clean site, complete enclosure of
saw and apparatus, checking filters at regular intervals to insure working properly, and the
cutting of cloth where asbestos dust should be minimized. More specifically, in letters dated
1956 and 1959, Dr. Elkins informed the GE Lowell Plant that those employees working around
asbestos should receive periodic chest x-rays due to the hazardous nature of asbestos. Also, he
informed that the workers who sweep the area should wear respiratory equipment. Therefore,
General Electric knew or should have known that asbestos could be harmful to those individuals
exposed to this dust.

52.

Moreover, various published reports and articles available to GE, prove that GE was
empowered with the knowledge that asbestos caused several diseases. Some of the reports and

articles include:

(1) Safety Management: Accident Cost and Control, a published article written in
1956 by Dr. R. Simonds and Dr. J. Grimaldi, which discusses the fact that asbestos _
produces asbestosis, the symptoms of asbestos, and how asbestos dust can be found in all
stages of asbestos handling;

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(2)  Asbestos-Dust Exposures at Various Levels and Mortality, a published article
written in 1967 by Dr. P. Enterline and Dr. A. Kendrick discussing the first reports of

asbestosis in the early 1900s, the first reports of mesothelioma were published in 1955,
and the acceptance of a causal relationship between asbestos dust and asbestosis and
mesothelioma;

(3) Asbestos Exposure Smoking, and Neoplasia, a published article written in 1968
by Dr. I. Selikoff, Dr. E. C. Hammond, and Dr. Jacob Churg, discussing that asbestos

workers have a high risk of dying of bronchogenic carcinoma.

(4) Industrial Pneumoconiosis Prevention and Control, an published article written in
1969 by Edmund M. Fenner, director of environmental control at J-M, talks about how
scientists became concerned about the connection between the exposure to asbestos fibers
and asbestosis in the 1920s. Furthermore, the article speaks of the Saranac Laboratory’s
discovery, through animal and human research in the 1930s, that asbestos exposuaedid,
“produce a unique and identifiable pulmonary fibrosis.” Additionally, the article also
talks about how Britain had become concerned about the link between asbestos dust
exposure and lung cancer in the 1950s.

(5) Asbestos And Health In 1969, a published article written in 1969 by George W.
Wright, discusses the progression of knowledge about asbestos’ relationship with
different diseases. Wright begins by talking about the discovery of diseases associated
with asbestos exposure in the early 1900s. Then, Wright mentions that in the 1930s, it
was pointed out that asbestos poised a problem to the health of workers and that the
health problem could be minimized by instituting protective measures to reduce the
amount of asbestos airborne dust. Wright also speaks about the various tests conducted
to determine the exact relationship between asbestos and diseases. Additionally, Wright
indicates that an 80% incidence of asbestosis to workers exposed to asbestos 20 or more
years was found, and also that the more asbestos dust concentration in the air the larger %
of workers developing cancer. Furthermore, Wright explains that there is a strong
relationship between the development of mesothelioma and the exposure to asbestos
fibers.

(6) e Health of Chrysotile Asbestos Mine and Mill Workers of Quebec, a published
article written in 1972 by Dr. C. McDonald, Dr. M. Becklake, G. Gibbs, Dr. A.
McDonald, and C. Rossiter, talks about how asbestos has been known to cause three
identifiable diseases, including asbestosis, lung cancer, and mesothelioma. The article
also discusses the fact the percent of people who develop lung cancer rises with the
increase in asbestos dust exposure.

(7) Recommended Safety Practices for Handling Asbestos Fiber, an article written by
Johns-Manville indicating that asbestos should be handled in a way as to prevent asbestos
dust and that approved asbestos respirators should be worn by when handling asbestos
fibers.

(8) Encyclopedia Of Occupational Health And Safety, written in 1971 by J.C. Gilson,
t heut the health hazards, including several diseases, associated with the inhalation
beatos fibers and asbestos dust. The Encyclopedia also speaks of the first incidence

of asbestosis discovered in 1899 in London and the fact that in the 1930s asbestos was
seen as a major cause of health hazards in the asbestos textile industry in the U.S. and

other countries.

53.

Defendants, Anco Insulations, Inc, Bayer Cropscience, Inc. (as successor of liability to
Rhone-Poulenc AG Company f/k/a Amchem Products, Inc. f/k/a Benjamin Foster Company),
Eagle, Inc. (formerly Eagle Asbestos & Packing Company, Inc.), Foster-Wheeler, LLC (formerly
Foster Wheeler Corporation), General Electric Company, The McCarty Corporation (successor to
McCarty Branton, Inc:, and predecessor and successor to McCarty Insulation Sales, Inc.), Riley

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Power Inc. (formerly Babcock Borsig Power, Inc. formerly DB Riley, Inc., formerly Riley Stoker
Corporation), CBS Corporation (f/k/a Westinghouse Electric Corporation), Uniroyal, Inc.,
Taylor-Seidenbach, Inc., International Paper Company, Gabler Insulations, B&B, and The Cajun
Company were in the business of manufacturing, fabricating, selling and/or distributing asbestos-
containing products, including but not limited to asbestos-containing pipe covering, pipe coating,
blankets, special fittings, cloths, gaskets, blocks, valves, cements, mastics, jackets, board,
turbines and/or boilers. These defendants sold to, installed, removed and/or abated these
products at various premises at various times during Mr. Cortez’s employments. In addition,
Anco Insulations, Inc, Eagle, Inc. (formerly Eagle Asbestos & Packing Company, Inc.), The
Mcfarty Corporation (successor to McCarty Branton, Inc., and predecessor and successor to
McCarty Insulation Sales, Inc.), Taylor Seidenbach, Inc., Foster Wheeler, Westinghouse, Riley
Power, International Paper, General Electric, B&B, Gabler Insulations, and The Cajun Company
distributed asbestos-containing products manufactured, distributed, and sold by various
companies including Bayer Cropscience, Inc. (successor to Rhone Poulenc AG Company,
formerly Amchem Products, Inc., formerly Benjamin Foster Company)--(adhesives, coatings,
sealants, and mastics), Foster Wheeler LLC (formerly Foster Wheeler Corporation)--(block and
boiler insulation), General Electric Company —(electric wire and cable, block, cloth, generators
and generator insulation, turbines and turbine insulation including, but not limited to sprayed
asbestos insulation), Riley Power, Inc. (formerly Babcock Borsig Power, Inc., formerly DB Riley,
Inc. formerly Riley Stoker Corporation) -- (block and boiler insulation), CBS Corporation
(formerly Westinghouse Electric Corporation)—(block, boiler, turbine and turbine insulation,
generators and generator insulation, cloth, blankets, adhesives, cement, pipe covering, and

_ micarta), and Uniroyal, Inc.--(cloth, tape, yarn, and adhesives). During various periods of time
from the 1960s through 1980s, Anco Insulations, Inc, Eagle, Inc. (formerly Eagle Asbestos &
Packing Company, Inc.), Taylor Seidenbach, Inc., The McCarty Corporation (successor to
McCarty Branton, Inc., and predecessor and successor to McCarty Insulation Sales, Inc.),Gabler
Insulations, B&B, and. The Cajun Company would package the above-described products from
other distributors and manufacturers’ products in their own boxes and packaging, and hold out
the products as theis own, thus, magne them liable as the manufacturer under Louisiana law.
During various periods of time from 1960 through the 1980s, Anco Insulations, Inc, Eagle, Inc.
(formerly Eagle Asbestos & Packing Company, Inc.), The McCarty Corporation (successor to

McCarty Branton, Inc., and predecessor and successor to McCarty Insulation Sales, Inc.), Taylor

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Seidenbach, Inc., Riley Stoker, Foster Wheeler, General Electric, Westinghouse, Gabler
Insulation, B&B, and The Cajun Company also did contracting work at the locations where
Callen Cortez and Calise Cortez were working throughout his career thereby exposing Mr.
Cortez during their handling of asbestos-containing products. Mr. Cortez was exposed to
asbestos-containing products manufactured, distributed, sold, and/or handled by all “defendants”
named in this petition.

54.

The asbestos-containing products manufactured, distributed and/or sold by Anco
Insulations, Inc., Eagle, Inc., The McCarty Corporation, Taylor-Seidenbach, Inc., Hopeman
Brothers, Inc., Wayne Manufacturing Company, Bayer CropScience, Inc., Uniroyal, Inc., CBS _
Corporation, General Electric Company, Foster Wheeler LLC, Riley Stoker, Gabler Insulations,
B&B, The Cajun Company, and International Paper Company were unreasonably dangerous per
se, were defective in design, and censtituted a breach of warranty from said manufacturers.
Further, these defendants failed and refused to warn Mr. Cortez of the danger of exposure to such
products. They also failed to warn of the invisible nature of the asbestos and that it could cause
diseases such as mesothelioma, cancer, asbestosis, pleural diseases, and other il! health effects.

55.

As a result of the defective and unreasonably dangerous condition and composition of the
-asbestos-containing products manufactured, distributed, and/or sold by Anco Insulations, Inc.,
Eagle, tne., The McCarty Corporation, Taylor-Seidenbach, Inc., Hopeman Brothers, Inc., Wayne
Manufacturing Company, Bayer CropScience, Inc., Uniroyal, Inc., CBS Corporation, General
Electric Company, Foster Wheeler LLC, Riley Stoker, Gabler Insulations, B&B, The Cajun
Company, and International Paper Company, Mr. Cortez inhaled asbestos fibers and other
harmful-substances emitted by the normal use of said products, proximately causing the
mesothelioma and other related ill health effects from which he suffers. Plaintiff further
contends that these companies are liable as a result of manufacturing, distributing, or selling an
unreasonably dangerous per se product, a product defective in design, for breach of warranty, and
for failing to provide adequate warnings and instructions. Further, these companies are liable for
failing to substitute available alternative products and for fraudulently concealing the dangers of

their products and the health hazards associated with the use and exposure to said products.

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56.

Prior to the time Mr. Cortez was exposed to asbestos, all defendants were aware or should
have been aware of the health hazards associated with exposure te asbestos, including but not
limited to pleural plaques, fibrosis, asbestosis, cancer, and mesothelioma. Further, all defendants
were aware or should have been aware that invisible asbestos particles could remain airborne for
many hours and that exposure could occur even after actual use of the products ceased;
nevertheless, defendants remained silent as to the unreasonably dangerous nature of the products
which suppression of the truth was made with the intention of obtaining an unjust advantage over
unsuspecting victims, Such conduct constitutes fraud under Louisiana law.

57.

All defendants made the misrepresentations cited in the foregoing paragraph despite their
knowledge of the falsity, and defendants fraudulently concealed and suppressed the truth about
the dangerous nature of the products with the intent to induce purchasers to buy the products and
innocent users and ernployees to continue to be exposed to same without concern for their health.

58.

As a result of the misrepresentations of the defendants that asbestos-containing products
were safe, nontoxic, fully tested, desirable, and suitable for use, and as a result of the defendants
suppression of the truth about the health hazards associated with exposure to said products, Mr.
Cortez was exposed to products manufactured, distributed, sold, and/or handled by "defendants,"
and he contracted mesothelioma and other related ill health effects, which was first diagnosed on
approximately June 2, 2020.

59.

The misrepresentations and suppression of the truth of occupational health hazards were
made by all defendants with the intent of obtaining an unjust advantage over Mr. Cortez, and
other employees who remained uninformed and ignorant of the risks of contracting occupational
lung diseases from their work environment. These misrepresentations and suppressions were
calculated to produce the effect of misleading the employees so that they would not associate any
lung disease with occupational exposures on the job. As a result of these misrepresentations and
suppressions, all defendants sought to prevent or limit occupational disease claims by injured
employees and claims from family members who also contracted disease. These actions

constitute fraud under Louisiana law.

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60.

The health hazards of asbestos have been recognized by those in the business for two
thousand years, The Greek geographer Strabo and the Roman historian Pliny the Elder both
recognized asbestosis in slaves whose task was to weave asbestos into cloth. There is conclusive
evidence (more specifically outlined below) that by the end of 1930, it was widely known in the
United States by those in the industry and their insurers that exposure to asbestos could cause
asbestosis and cancer, that asbestosis was a fatal disease, and that the latency period of asbestosis
and other ashestos-related disease was of many years duration subsequent to initial exposure, yet
this knowledge was suppressed from workers like Mr. Cortez.

61.
By the time Mr. Cortez began working with and around asbestos products, virtually every
state in the Unites States recognized asbestosis and silicosis as compensable claims under
_workers' compensation laws. In fact, the Louisiana legislature in 1952, when it enacted its first
Workers' Compensation Occupational Disease Act, listed asbestosis and silicosis as a
compensable occupational disease. Moreover, all suppliers (as well as independent contractors)
to any company with government contracts were bound to comply with health and safety
requirements of the Walsh Healey Public Contract Act first promulgated in 1936, as well as the
regulations of the U.S. Navy and U.S. Maritime Commission in 1943. Likewise, there were
industrial health standards regarding asbestos in Louisiana since 1943. These mandatory
regulations addressed asbestos hazards and asbestosis as a resultant disease of exposure to
asbestos. They also required isolation of dusty work, ventilation, use of respirators, and medical
examinations by doctors. Despite this, Mr. Cortez was never warned of any hazard associated
with asbestos or silica, was never protected by use of adequate ventilation, and was required to
work nest to insulators using asbestos products. He never saw a warning on any asbestos
qirodnet or was he warned by any contractor using asbestos or silica products. Despite the fact
that all defendants were aware of the hazards of asbestos and silica and other toxic substances to
which Mr. Cortez was exposed, they failed and refused to warn of these dangers and,
furthermore, concealed these hazards. Moreover, defendants suppressed-and prevented the
dissemination of information relating to the hazards of asbestos and silica exposure, thus
constituting fraud under Louisiana law. Even after OSHA became the law in 1971, Mr. Cortez

was not warned of the health hazards associated with exposure to asbestos.

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62.

The acts of the defendants, as described above, constitute a fraudulent misrepresentation

and/or concealment which proximately caused the injuries to the Petitioner in the following

manner:

1)

2)

3)

4)

5)

The material published or caused to be published was false and
incomplete and that the defendants knowingly and deliberately
deleted references to the known health hazards of asbestos and
asbestos-related products.

The defendants intended the publication of false and misleading
reports and/or the non-disclosure of documented reports of the
health hazards of asbestos:

a) To maintain a favorable atmosphere for the
continued sale and distribution and use of asbestos
and asbestos-related products;

b) To assist in the continued pecuniary gain of the
defendants through the sale of asbestos products to
an ignorant public;

c) To influence in the defendant's favor, legislation to
regulate asbestos exposures and unlimited medical
and disability claims for compensation;

d) To provide a defense against lawsuits brought for
injury resulting from asbestos disease;

e) To prevent relevant medical inquiry about asbestos
disease;

f) To mislead the general public, and the Petitioner
herein, about the hazards associated with asbestos
products; and

g) To induce the Petitioner to use and continue to use
asbestos products.

The Petitioner reasonably relied upon the published medical and
scientific data documenting the purported safety of asbestos and
asbestos-related products, and the absence of published medical
and scientific reports on the hazards of asbestos and asbestos-
related products because Petitioner believed it to be safe.

Defendants, intended the Petitioner to rely upon the published
reports regarding the safety of asbestos and asbestos-related
products and upon the absence of published medical and scientific
data regarding the hazards of asbestos and asbestos-related
products, and therefore to continue their exposure to those
products.

Defendants are in a position of superior knowledge regarding the
health hazards of asbestos and therefore the Petitioner and others
deciding to use the said asbestos-containing products to which
Petitioner was exposed, had a right to rely on the published reports
commissioned by the defendants regarding the health hazards of
asbestos and the absence of published medical and scientific data
regarding the hazards of asbestos and asbestos-related products.

63.

Insurance premiums were set based on the risks posed by the insured. Insurance

companies discussed the hazards of asbestos with insured who manufactured, used, or distributed

asbestos preduets. Insurance field inspectors would survey the premises or operations of the

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insured, advise the insured of the hazard, and set the premium accordingly. This was true prior
to the time that Mr. Cortez was first exposed to asbestos and continued throughout his
employment. The fact that workers’ compensation insurance carriers were concerned about
asbestos is evidenced by the 1932 occupational disease report in "The National Underwriter"
where asbestos was listed as a serious hazard receiving special attention "for some time" in
insurance underwriting. When the Supreme Court of North Carolina (McNeely v. Carolina
Asbestos Co., May 23, 1934) determined that asbestosis was compensable under its workers'
compensation law, insurance executive F. R. Jones wrote that the McNeely case and others like it
injected elements of uncertainty that rendered the hazards of asbestosis "often uninsurable at
practicable rates."; —" that even though rates for those in the asbestos business were high,
"their adequacy ... is generally doubted." To avoid losing money, insurance companies instituted
a practice of servicing claims as well as providing the insurance--"sort of a right pocket to left
pocket...in other words there wasn't any way (insurance companies) could lose money on it."
(See deposition of Harry J. Flynn in Bradley v. Todd Shipyards, Inc., C.A. No. 85 - 05657, Div.
"D", Civil District Court for the Parish of Orleans.)

64.

That all defendants and the companies that insured them knew of the health hazards
assecisied with exposure to asbestos since the 1930s (and suppressed this information) is shown
by numerous documents and testimony. In fact, the knowledge was so well recognized in the
asbestos industry that the insurance industry considered confessing liability; instead, they decided
to make it "economically impossible" for plaintiffs to pursue their claims. The minutes of
meetings in 1976 and 1977 of American Mutual Insurance Alliance (an insurance industry
association) confirm that the hazards of asbestos exposure have been known for many years.
These minutes specifically state that medical research in 1900 linked asbestos with asbestosis

_and by 1935 it was recognized that asbestos caused cancer. In a memorandum of a meeting of a
discussion group dated April 21, 1977, it was stated: The meeting closed with a unanimous
rejection of a suggestion that liability in asbestos cases be admitted and the carriers agreed
between themselves as to their respective losses and expenses. That insurance companies and
their insureds were working together to discourage plaintiffs from pursuing valid claims is also
demonstrated in earlier memos. In minutes dated May 22, 1974, discussing Bare! y. Fibreboard
Paper Products Corporation, 493 F.2d 1076, (Sth Cir. 1973), cert. denied, 419 U.S. 869 (1 974),

it is stated: "The appeals court decision in the Borel case of course sets a very bad precedence

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for our other pending asbestosis cases and (sic) this jurisdiction we will soon have to formulate a
‘game plan’ for the continued defense of these asbestosis cases with the other defendants." In
a memo dated October 22, 1974, it was decided that the asbestos defendants and their insurance
companies would resist pending cases "and attempt to make this economocially (sic) impossible
for the plaintiffs to pursue the other cases." These attempts to prevent and stifle valid claims by
plaintiffs such as Mr. Cortez shows that the defendants, to this day, are committing fraud.

65.

Documents and testimony of defendants herein as well as associated asbestos companies
is replete with the fact of knowledge and fraud, Although Johns-Manville (hereinafter
sometimes referred to as "J-M" and Raybestos-Manhattan, Inc. (hereinafter sometimes referred to
as "R-M") are not defendants herein, a discussion of their knowledge is necessary to show
knowledge within asbestos industry associations, within the insurance industry, and among other
defendants. In 1929, Johns-Manville Corporation and Raybestos-Manhattan, Inc. agreed to
permit the Metropolitan Life Insurance Company to conduct a complete Industrial Hygiene
survey,of some,of their facilities, including J-M's asbestos mines and mills in the Province of
Quebec. The initial investigation began in October of 1929 and was completed in January ef
1931. The study included the following: a survey of the dust conditions in the asbestos mines,
mills and fabricating plants; physical examinations of asbestos workers, including X-ray films;
and a study of the dust exhaust systems designed to eliminate asbestos dust. This survey was
supervised by Dr. Anthony J. Lanza, Assistant Medical Director of Metropolitan; Dr. William J.
McConnell, Assistant Medical Director of Metropolitan; and J. William Fehnel, a chemist with
Metropolitan. Subsequent to this initial study, meetings were held among Dr. Anthony J. Lanza,
W. R. Seigle (Vice President of J-M), Vandiver Brown (General Counsel for J-M), S. A.
Williams (President of Johns-Manville Products Corporation), and Sumner Simpson (President
of Raybestos-Manhattan, Inc.). The minutes of these meetings which occurred in November,
1933, through January, 1934, reflect that Metropolitan Life was desirous of conducting a follow-
up study of the J-M and R-M facilities, as well as expanding the scope of the study to include
additional J-M facilities and facilities of other members of the asbestos industry. Dr. Lanza felt
that the Metropolitan Life Insurance Company should advise the companies of the types of
respirators which should be provided to the employees engaged in making a study of this
problem. On December 7, 1934, Dr. Lanza forwarded to Vandiver Brown, counsel for J-M, the
"galley proof" of the results of the 1929 through 1931 survey of the R-M and J-M plants, entitled

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"Effects of Inhalation of Asbestos Dust on the Lungs of Asbestos Workers." This "draft" was
also circulated to representatives of Raybestos-Manhattan, who prepared editorial comments and
recommendations for Dr. Lanza concerning the final publication of the report. Johns-Manville
prepared similar comments. The Metropolitan report informed Raybestos-Manhattan and Johns-
Manville of the following: that prolonged exposure to asbestos dust caused pulmonary fibrosis;
that asbestosis could cause cardiac enlargement; that it was possible for uncomplicated asbestosis
to have fatal results; and that the amount of dust in the air in the asbestos plants surveyed could
be substantially reduced. After incorporating some of J-M's and R-M's editorial suggestions, Dr.
Lanza published "Effects of the Inhalation of Asbestos Dust on the Lungs of Asbestos Workers"
in the Public Health Reports, Volume 50, No. 1, January 4, 1935.

66.

In November 1936, Vandiver Brown of Johns-Manville, together with Sumner Simpson,
President of Raybestos-Manhattan, solicited other members of the Asbestos Products Industry to
participate in "asbestos dust experiments" by the Saranac Laboratory of the Trudeau Institute.
Dr. Leroy U. Gardner was the director of the Trudeau Foundation at the time. A report of these
works was prepared by Dr. Gardner on April 18, 1938. The report was sent to Vandiver Brown,
who in turn sent it to Dr. Lanza for his comments.

67.
In 1942, Charles Roemer, a New Jersey attorney, was advised by his cousin, Dr. Jacob
- Roemer, that in the course of reviewing chest x-rays of employees at the Union Asbestos and
| Rubber Company's Paterson, New Jersey plant, he had observed a significant number with Jung
changes which he believed were due to asbestos exposure. Dr. Roemer advised that the men be
informed of his findings and that they be instructed to secure outdoor employment which did not
involve any exposure to asbestos dust. Dr. Roemer said that unless this was done immediately,
the men would suffer and die from asbestos-related lung disease. Vandiver Brown
acknowledged that J-M's physical examination program had produced similar findings of x-ray
evidence of asbestos disease among workers, but told Mr. Roemer and the UNARCO
representatives that it was foolish to be concerned. Mr. Brown explained that it was J-M's policy
to let its employees die of asbestos poisoning rather than inform them of health consequences
which would undoubtedly lead to costly lawsuits against the company. As testified to by Mr.
Roemer, "I'll never forget, I turned to Mr. Brown... and I said, 'Mr. Brown, do you mean to tell
me you would let them work until they dropped dead?’ He said, "Yes. We save a lot of money

that way."" (Deposition Charles H. Roemer taken April 25, 1984, Johns-Manville Corp. et al. v.

the United States of American, U.S. Claims Court Civ. No. 465-83C).
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68.

As a result of the aforesaid Metropolitan Life study, additional health research on the
effects of prolonged and excessive inhalation of asbestos fiber on human beings was undertaken
at the Saranac Laboratory. A report on this research was delivered at the Seventh Saranac Lake
Symposium in 1952 and was entitled "Pulmonary Function Studies in Men Exposed for Ten or
More Years to Inhalation of Asbestos Fibers" by Fernand Gregorie and George W. Wright.

69.

In addition to the IHF, there were other trade associations which were formed to aid and
service companies in the asbestos industry. Members of the Asbestos Textile Institute (ATI),
founded on November 16, 1944, included companies which produced asbestos containing cloth
and other products. Members included, among others, Uniroyal, Inc., which is a defendant in this
action. At the June 13, 1946, meeting of the Asbestos Textile Institute, a question was posed as

- to whether or not a committee should be formed to deal with the question of dust control.
Beginning on June 13, 1946, a subcommittee of the dust contra committee of the Asbestos
Textile Institute recommended that the committee contact the United States government, the state
governments in which member plants were located, the Mellon Institute, and Metropolitan Life
for the purpose of preparing a tentative program aimed at bringing to member companies the
assistance of qualified technical and medical people. In 1946, the ATI was presented with a plan
for a central medical committee which would call for individual medical programs at all facilities
using asbestos as well as a central medical department which would be responsible to the
association. Recommendations for initial medical examinations and periodic follow-up
examinations were also made. The recommendation for periodic medical examinations was
characterized by the presenting doctor as "fundamental in an industry where there was a ‘known
occupational health hazard". While the ATI considered this proposal, it nonetheless elected to
defer the plan. During the late 1940's and early 1950's, the ATI was presented with a number of
other plans for wide ranging research on various issues dealing with asbestos-related disease in |
the asbestos industry. However, in some instances, the research projects and proposals were
discarded.

70.

Another trade organization was the National Insulation Manufacturers Association

("NIMA"), which formed in December of 1958 as a joint venture trade association to serve as a

voice for the mineral insulation industry. After 1958, personnel of Ruberoid/GAF (defendant

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herein) attended most, if not all, NIMA meetings at which health hazards were frequently the
topic of formal discussions. NIMA members had unequivocal knowledge of the potential health
hazards posed by unprotected and prolonged exposure to excessive quantities of airborne
asbestos fiber. The testimony of Harry Kaufman, who came to Ruberoid in 1958 as Assistant
Director of Quality Control, admit knowledge of the potential health hazards to an unprotected
worker from exposure to asbestos fiber as far back as 1943 when he attended a five month course
at the University of Maryland on Industrial Safety. Charles Limerick, former manager of the
Ruberoid Vermont Mines, has admitted that he was aware of dangers of asbestos as far back as
the 1930's and 1940's. GAF/Ruberoid was put on notice of dangers in 1935 or 1925 through
correspondence with "Asbestos" magazine. Ruberoid subscribed and advertised in "Asbestos".
Moreover, Ruberoid was prodded by lawsuits brought by its employees alleging that they had
developed asbestosis as early as 1934.

71.

Sumner Simpson, the first Raybestos-Manhattan Incorporated President, maintained a file
or collection of documents, correspondence, and memoranda pertaining to the subjects of the
health effects of asbestos, dust control, and dust levels. These documents clearly evidence
knowledge, beginning in at least the 1930's, of dangers posed by exposure to asbestos and steps
which could and should be taken to minimize the risk of asbestos-caused diseases. The "Sumner
Simpson" documents, as a group, demonstrate the high level of awareness and early
sophistication of the asbestos industry of knowledge that excessive exposure to asbestos over a
prolonged period of time could and would produce asbestos-related diseases. Numerous letters
in the "Sumner Simpson" document collection refer to the fact that many states were adding
asbestosis asa compensable disease and that Raybestos-Manhattan Incorporated was going to
have to deal with that reality.

72.

Eagle, Inc. and Taylor-Seidenbach, Inc. did contracting work as early as the 1940s.
Likewise, The McCarty Corporation (formerly McCarty Branton, Inc.), Gabler Insulations, Inc.,
The Cajun Company, and Anco Insulations, Inc. have done contracting work since their initial
existence. Accordingly, Anco Insulations, Inc., Eagle, Inc., The McCarty Corporation (formerly
McCarty Branton, Inc.), Gabler Insulations, Inc., The Cajun Company, and Taylor-Seidenbach
were aware of the health and safety requirements of the Walsh Healey Public Contract Act, first
promulgated in 1936, as well as the regulations of the U.S. Navy and U.S. Maritime Commission

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in 1943 (discussed infra). Likewise, these companies were also aware of heath and safety
requirements regarding asbestos adopted in Louisiana as early as 1943 through the Louisiana
Sanitary Code-Industrial Health Regulations. These standards addressed asbestos hazards and
asbestosis as a resultant disease of exposure to asbestos. Moreover, these companies, being
asbestos insulation contractors, had to pay higher insurance premiums as a consequence thereof.
Mr. Cortez was exposed to asbestos both through their contracting work and through products
manufactured, distributed, and sold by them throughout his career. Yet at no time was Mr.
Cortez protected from these hazards nor warned of these hazards. Even after OSHA became the
law in 1971, Mr. Cortez was not advised of the hazards associated with exposure to asbesfas.
These defendants were aware of the hazards of asbestos but failed and refused to warn Mr.
Cortez of the dangers and, furthermore, concealed and suppressed its knowledge of these
hazards, thus constituting fraud under Louisiana law. See deposition of Fred J. Schuber, Jr.,
05/31/90, pages 149-155, 176-179 and exhibits attached to the deposition of Schuber taken
5/09/90; and deposition of Thomas R. Dimm, 02/03/86, pages 65-66; and Eagle, Inc.'s response
#4 to plaintiffs’ interrogatories in the case of Atzenhoffer, et al v. National Gypsum, Co., et al, C.
A, #89-894, which responses are dated March 27, 1990; and Act No. 532 (1952) arnendments io
the Louisiana Workers’ Compensation Act.

73.

Since the early 1940s, defendant, Foster-Wheeler LLC (formerly Foster-Wheeler
Corporation), was a major manufacturer of boilers used in the construction of both commercial
and U.S. Navy vessels at various shipyards throughout the US. Since that time through and
including the time when Mr. Cortez, was last exposed, they supplied boilers to virtually every
shipyard constructing and repairing vessels in the country. Accordingly, since the early 1940s,
they were aware of the health and safety requirements of the Walsh Healey Public Contract Act,
first promulgated in 1936, as well as thé regulations of the U.S. Navy and U.S. Maritime
Commission in 1943 (discussed infra). These mandatory regulations addressed asbestos hazards
and asbestosis as a resultant disease of exposure to asbestos. Despite this knowledge, at no time
was Mr. Cortez advised of these hazards as defendants failed and refused to warn Mr. Cortez of
the dangers and, furthermore, concealed and suppressed their knowledge of these hazards, thus
constituting fraud under Louisiana law. In addition to manufacturing and selling boilers, (and

providing the asbestos insulation products for insulation of their boilers and the piping

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connecting their boilers), they constructed their boilers on-site and provided an on-site
representative during the construction of their boilers.
74,

At various times from approximately 1968 through 1996, Callen Cortez worked on the
following premises where he was exposed to asbestos: Pharmacia LLC (formerly, Pharmacia .
Corporation individually and as successor to Monsanto Company) (“Monsanto”); Shell Oil
Company (“Shell”), Occidental Chemical Corporation (f/ka Hooker Chemical & Plastics Corp.,
f/k/a Hooker Chemical Corporation (“Hooker”); Vulcan Materials Company (“Vulcan”);
Goodrich Corporation (f/k/a the Bf Goodrich Company) (“Goodrich”); Axiall Corporation (DE)
(f/k/a Georgia Gulf Corporation) (“Georgia Gulf”); Texaco Inc. (“Texaco”); CF Industries
Nitrogen, LLC (f/k/a Terra Mississippi Nitrogen, Inc., f/k/a Mississippi Nitrogen, Inc., f/k/a Triad
Nitragen, Inc.) (“Triad”); BASF Corporation (f/k/a Inmont Corporation f/k/a Mew Corporation
(Of Delaware) f/k/a BASF Wyandotte Corporation f/k/a Wyandotte Chemicals Corporation)
(“BASF”). These defendants were aware or should have been aware of the dangerous condition
presented by exposure to asbestos, and that said asbestos and asbestos fiber would cause Callen
Cortez (and others similarly situated) to suffer from asbestos-related pulmonary disease,
asbestosis, pleural plaques, pleural thickening, lung cancer, mesothelioma, and other ill health
effects related thereto, but they failed and/or willfully withheld from Mr. Cortez knowledge of
the dangers to his health from exposure to asbestos and asbestos fiber. Additionally, at all times
during these employments, Callen Cortez was exposed to asbestos and asbestos-containing
products manufactured, distributed, handled, and sold by “defendants”.

75.
At various times between 1965 and 1984, Calise Cortez worked at Union Carbide
Corporation (“Union Carbide”), Entergy Louisiana, LLC (“Entergy”), Pharmacia LLC (formerly,
- “Dhalacia Cotsttation individually and as successor to Monsanto Company) (“Monsanto”), and
Shell Oil Company (“Shell Oil”). Calise Cortez’s worked applying and removing asbestos
products, including but not limited to asbestos-containing pipe covering, pipe coating, blankets,
special fittings, cloths, gaskets, packing, blocks, valves, cements, adhesives, mastics, jackets,
board, turbines and/or boilers. On a daily basis throughout the of employment of Calise Cortez,
Cailen Cortez was exposed to dangerously high levels of asbestos through contact with the
person, clothing, and other objects of Calise Cortez as well as through the handling and washing

of clothing and other objects belonging to him and through the contamination of the home as a

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result thereof. These exposures caused and/or contributed to Callen Cortez’s mesothelioma.
Union Carbide, Entergy, Pharmacia, and Shell Oil designed their plants to be built with these
asbestos products. Union Carbide, Entergy, Pharmacia, and Shell Oil also maintained the care,
custody, and control over the asbestos in its plant as well as those contractors who may have
handled asbestos. At all times during Calise Cortez’s foregoing employments, he was exposed to
asbestos and asbestos-containing products manufactured, distributed, handled, and sold by
“defendants”, and Callen Cortez was exposed to asbestos as a result thereof.

76.

Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union
Carbide, and Entergy had the responsibility of providing Callen Cortez and/or Calise Cortez with
a safe place to work and safety equipment; however they negligently and/or intentionally failed to
carry out these duties and failed to protect Callen Cortez and/or Calise Cortez from the dangers
of toxic fiber and asbestos dust exposure. Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia
Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy allowed and caused Callen Cortez and
Calise Cortez to be exposed to asbestos and failed to provide a safe place to work. As owners of
the premises containing toxic ashestos, Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia
Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy failed to exercise reasonable care for the
safety of persons on or around their property and failed to protect Callen Cortez and/or Calise
Cortez from the unreasonably dangerous conditions created by asbestos which existed on their
premises and/or over which defendants had care, custody or control.

77.

Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union
Carbide, and Entergy had the responsibility of providing Callen Cortez and/or Calise Cortez with
a safe place to work and safety equipment; however they negligently and/or intentionally failed to
carry out these duties and failed to protect them from the dangers of toxic fiber and asbestos dust
exposure. Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF,
Union Carbide, and Entergy allowed and caused Callen Cortez and/or Calise Cortez to be
exposed to asbestos and failed to provide a safe place to work. As owners of the premises
containing toxic asbestos, Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco,
Triad, BASF, Union Carbide, and Entergy failed to exercise reasonable care for the safety of

persons on or around their property and failed to protect Callen Cortez and/or Calise Cortez from

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the unreasonably dangerous conditions created by asbestos which existed on their premises
and/or over which defendants had care, custody or control.
78.

There were various industry standards in place dating back to 1943 which applied to the
places where Mr. Cortez worked, including Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia
Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy. These industry standards included the
Louisiana Sanitary Code’s Industrial Health Regulations, the Walsh Healey Public Contracts Act,
and the OSHA regulations. Thus, these companies were aware or should have been aware of the
hazards of asbestos at least by 1943. These standards required these companies to take protective
measures to protect those individuals on its premises from exposure to asbestos. These standards

required that as a premises owner take the following measures, among others, which defendants

failed to do:
a. Perform air monitoring for asbestos;
b. Segregate asbestos work;
c - Institute local exhaust ventilation and general ventilation;
d. Provide respiratory protection;
e. Warn those on the premises of the hazards of asbestos;
f. Train those on the premises in the proper use of the protective
equipment;

Require those on the premises to change clothes before going home; and
h. Preclude dry sweeping of asbestos dust.
79.

In addition to the above acts of negligence, strict liability, and fault identified throughout
this petition, Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF,
Union Carbide, and Entergy are strictly liable for failing to properly handle and control the
asbestos which was in its care, custody, and control. Monsanto, Shell, Hooker, Vulcan, Goodrich,
Georgia Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy were aware or should have
been aware of the dangerous condition presented by exposure to asbestos, and that Callen Cortez
would suffer from asbestos-related diseases and other ill health effects associated therewith as a
result of this exposure, but they failed and/or willfully withheld from Mr. Cortez knowledge of

the dangers to their health from exposure to asbestos fiber.

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80.

In addition to the foregoing acts of negligence and intentional concealment, Monsanto,

Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union Carbide, and

Entergy are liable for the following:

a)
b)

c)
d)
e)
f)

g)
h)

i)
k)

I)

Failing to reveal and knowingly concealing critical medical information to Mr.
ortez;

Failing to reveal and knowingly concealing the inherent dangers in the use of
asbestos, and other harmful substances in their manufacturing process;

Failing to provide necessary protection to Mr. Cortez;
Failing to provide clean, respirable air and proper ventilation;
Failing to provide showers and/or protective clothing to workers,

Failing to advise workers on their premises of the deadly nature of asbestos fiber,
and that such fiber could result in the contraction of serious illness and disease;

Failing to reveal and knowingly concealing critical information from Mr. Cortez;

Wanton and reckless disregard in the storage, handling, and transportation of
asbestos;

Failing to segregate work areas so that workers would not be exposed to deadly
asbestos fiber;

Failing to provide necessary respiratory protection;

Failing to warn workers of the dangers associated with exposure to asbestos and
failing to advise workers that they were being exposed to deadly asbestos fiber:

Failing to use non-asbestos containing products including on jobs where
non-asbestos containing products were specified;

Failing to warn of the dangers of exposure to asbestos;

Failing to warn workers that exposure to asbestos could cause deadly diseases
including mesothelioma, lung cancer, asbestosis, pleural thickening, and pleural
plaques; and

Failing to warn workers of the invisible nature of harmful asbestos, that it could
be carried home on clothing and other objects by a worker, and that it could cause
diseases such as asbestosis, pleural plaques, pleural thickening, lung cancer, and
mesothelioma.

These defendants intentionally or negligently committed these acts when they knew or

should have known full well that Mr. Cortez's injuries would follow or were substantially certain

to follow.

81.

Monsanto was aware of the hazards of asbestos well before Callen Cortez and Calise

Cortez worked on its premises. The asbestos standards identified above discussed the hazards of

asbestos and ways to reduce exposures as early as 1943. Monsanto had knowledge of the

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asbestos threshold limit values set forth by the American Conference of Government Industrial
Hygienists dating back to 1946. Additionally, Monsanto employed medical doctors and
industrial hygienists as early as the 1940s. Dr. R. Emmet Kelly began working for Monsanto in
1936. He was aware of the hazards of asbestos at the time he began working for Monsanto. Dr.
Kelly actually attended the Seventh Saranac Symposium in 1952. The presentations by various
doctors indicated that a link existed between asbestos and several lung diseases, including
asbestosis and lung cancer.

In his presentation at the Seventh Saranac Laboratory in 1952, Dr. Kenneth M. Lynch
indicated that he tested the effects of asbestos from a period of twenty five years (1926-1950).
The testing resulted in the knowledge of a causal relationship between asbestos and cancer in
1934. This discovery was formally set in a published record. Additionally, in 1947, Dr. Lynch
discovered that 13.2% of persons suffering from asbestosis also developed cancer. Furthermore,
Dr. Lynch spoke of several reports, dated from 1918 to 1952, discussing the association of cancer
with asbestos.

Also, Dr. Merewether began noting the deaths from asbestos exposure in the United
Kingdom during the years of 1924 to 1947, including asbestos with tuberculosis and asbestos
with lung cancer. Dr. Merewether discovered that 16.2% of persons suffering from asbestosis
also developed cancer, as apposed to the 13.2% found earlier, thus further indicating a causal
relationship between exposure to asbestos dust and lung cancer. In addition, Dr. Merewether
discussed the original cases of asbestosis discovered around 1902. Another doctor, Dr. Arthur J.
Vorwald, discussed the discovery of asbestosis in the early 1900s and the availability of
information concerning the disease through several reports, ever since. Dr. Vorwald also
admitted that individuals exposed to asbestos fibers develop asbestosis. Thus, Monsanto’s
attendance at the Seventh Saranac Symposium in 1952 indicates that it knew, or at least should
have known, of the hazardous nature of asbestos in causing asbestosis and lung cancer. Despite
this knowledge, Monsanto failed to warn individuals on its premises of the harmful effects that ~
result from the inhalation of asbestos fibers. .

82.
_In addition, Monsanto, Shell Oil, Texaco, Goodrich, Vulcan, Hooker, BASF, and Union
Carbide were members of the National Safety Council. The National Safety Council was
established in 1913. The National Safety Council publishes the transactions of the annual

Congress to its members. It also issued a National Safety News Magazine to its members. A

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number of articles that discussed the risks associated with asbestos exposure were published in
either the transactions of the annual Congress or the National Safety News Magazine. Thus,
Monsanto, Shell Oil, Texaco, Goodrich, Vulcan, Hooker, BASF, and Union Carbide would have
received these publications discussing the hazards of asbestos.

83.

Shell Oil was aware of the hazards of asbestos well before Callen Cortez and Calise
Cortez worked on its premises. The asbestos standards identified above discussed the hazards of
asbestos and ways to reduce exposures as early as 1943. Additionally, as early as 1945, H.H.
Zuidema, a Shell employee reported on asbestos as a carcinogen, which report was provide to the
members of the American Petroleum Institute. Other Shell documents likewise reference
literature discussing the hazards of asbestos in the 1950s. Additionally, Shell Oil advertised in
the Southern Power & Industry publication, which publication included several articles in the
1940s discussing the hazards of asbestos and methods to reduce exposures to asbestos. Also,
Shell Chemical was a member of the Manufacturing Chemists Association, which association
published a manual dating back to the 1950s, which advised for the need for warning labels for
hazardous dust creating products, such as asbestos.

84.

Texaco was aware of the hazards of asbestos well before Callen Cortez worked on its
premises. The asbestos standards identified above discussed the hazards of asbestos and ways to
reduce exposures as early as 1943. Additionally, as early as 1947, Allan Dooley, an industrial
hygienist and employee of Texaco, authored publications reporting asbestos as a hazardous dust.
Other Texaco documents dating back to the 1940s identify the hazards of asbestos.

85.

Despite this knowledge, Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf,
Texaco, Triad, BASF, Union Carbide, and Entergy remained silent as to the hazards of asbestos,
which suppression of the truth was made with the intention of obtaining an unjust advantage over
unsuspecting victims, like Mr. Cortez. Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia
Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy fai vise. Callen Cortez and/or
Calise Cortez that asbestos could cause him to contract asbestos-related diseases, including
asbestosis, lung cancer, and/or mesothelioma. Monsanto, Shell, Hooker, Vulcan, Goodrich,
Georgia Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy failed to advise Calise Cortez

and/or Callen Cortez that he should wear respiratory protection when working with and around

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asbestns-containing materials on their premises. By not advising him of this information,
Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union
Carbide, and Entergy mislead Callen Cortez and Calise Cortez into believing that working on
their premises around these products did not present a risk to his health. Moreover, Louisiana
law requires that a premises owner provide a reasonably safe working environment, including the |
providing of the necessary protection to make the workplace safe. Additionally, by failing to
warn Mr. Cortez, Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad,
BASF, Union Carbide, and Entergy were able to obtain the unjust advantage over Mr. Cortez
and other employees who remained uninformed and ignorant of the risks of contracting
occupational lung diseases from defendants’ work environment. These misrepresentations and
suppressions by Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad,
BASF, Union Carbide, and Entergy were calculated to produce the effect of misleading the
employees so that they would not associate any lung disease with occupational exposures on the
job. Asa result of these misrepresentations and suppressions, Monsanto, Shell, Hooker, Vulcan,
Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union Carbide, and Entergy sought to avoid
having to provide costly respiratory and safety equipment to individuals on its premises. Also,
Monsanto, Shell, Hooker, Vulcan, Goodrich, Georgia Gulf, Texaco, Triad, BASF, Union
Carbide, and Entergy sought to prevent or limit occupational disease claims by injured persons
and from family members who also contracted disease. These actions constitute fraud under
Louisiana law.

86.

All defendants made the misrepresentations cited in the foregoing paragraphs despite their
knowledge of the falsity, and defendants fraudulently concealed and suppressed the truth about
the dangerous nature of the products with the intent to induce purchasers to buy the products and
innocent users and employees to continue to be exposed to same without concern for their health.
87.

As aresult of the misrepresentations of the defendants that asbestos-containing products
were safe, nontoxic, fully tested, desirable, and suitable for use, and as a result of the defendants
suppression of the truth about the health hazards associated with exposure to said products, Mr.
Cortez was exposed to products manufactured, distributed, sold, and/or used by the defendants in

this case, and he contracted mesothelioma, cancer, and other related ill health effects.

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88.

The misrepresentations and suppression of the truth of occupational health hazards were
made by all defendants with the intent of obtaining an unjust advantage over Mr. Cortez and
other employees who remained uninformed and ignorant of the risks of contracting occupational
lung diseases from their work environment. These misrepresentations and suppressions were
calculated to produce the effect of misleading the employees so that they would not associate any
lung disease with occupational exposures on the job. As a result of these misrepresentations and
suppressions, all defendants sought to prevent or limit occupational disease claims by injured
employees and claims from family members who also contracted disease. These actions
constitute fraud under Louisiana law.

89,

Petitioner’s causes of action are based upon the acts and omissions of defendants or those
for vhom the defendants are responsible, and are specifically not based upon any act committed
at the direction of the United States Government.

| 90.

Callen Cortez was exposed to asbestos during the years of 1984 through 1996. His
injuries were caused by defendants’ wanton and reckless disregard for public safety in the
storage, handling, and transportation of asbestos to which Mr. Cortez was exposed and which
resulted in his mesothelioma. All defendants who are at fault for Mr. Cortez’s exposure to
asbestos during the years of 1984 through 1996 are liable to petitioner for punitive damages
pursuant to Article 2315.3 of the Louisiana Civil Code.

91.

As a result of the aforementioned acts of the hereinabove named defendants, Mr. Cortez

contracted mesothelioma and other related ill health effects.
92.

All of the hereinabove named defendants are jointly, severally, and in solido liable to
petitioner for the damages sustained as a result of Mr. Cortez’s contraction of mesothelioma and
other related ill health effects. Petitioner, Callen Cortez, is entitled to damages for the following:
past, present, and future physical pain and suffering; past, present, and future mental pain and
suffering; fear of death and complications; permanent disability; loss of enjoyment of life and
lifestyle; reduction in life expectancy; past, present, and future loss of income and loss of earning

capacity; loss of fringe benefits; past, present, and future medical expenses; loss of personal

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services, costs of care and assistance, costs of custodial care; humiliation, frustration and
inconvenience caused by the defendants; other expenses incurred as a result of his disease; and
all other general damages arising out of this action which may be shown at the trial of this matter.
93.

A trial by jury is demanded on all issues.

WHEREFORE, petitioner, Callen J. Cortez, prays that the defendants named herein be
duly cited to appear and answer, and that after all due proceedings are had, that there be judgment
_rendered herein in favor of petitioner and against defendants for all damages suffered by
‘petitioner together with legal interest and all costs associated with the prosecution of this claim.

Petitioner further prays for all general and equitable relief.

Respectfully submitted,
ROUSSEL & CLEMENT

   

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~ JONATHAN B. CLEMENT - 30444
LAUREN R. CLEMENT - 31106
BENJAMIN P. DINEHART - 33096
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ATTORNEYS FOR PETITIONER,
CALLEN J. CORTEZ
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PLEASE SERVE THE PETITION FOR DAMAGES, OPPOSITION TO MOTIONS FOR
EXTENSION OF TIME, NOTICE OF VIDEOTAPED.PERPETUATION FOR ALL
PURPOSES INCLUDING PERPETUATION PURPOSES, ON THE FOLLOWING:

1.

HUNTINGTON INGALLS INCORPORATED

(formerly NORTHROP GRUMMAN SHIPBUILDING, INC.,
formerly NORTHROP GRUMMAN SHIP SYSTEMS, INC.

formerly, AVONDALE INDUSTRIES, INC.
formerly AVONDALE SHIPYARDS, INC.

and formerly, AVONDALE MARINE WAYS, INC.)
Through its agent for service of process:

CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, La..70816

ALBERT BOSSIER, JR.

Through his agent for service of process:
Brian Bossier

3421 North Causeway Blvd.

Suite 900

Metairie, LA 70002

LAMORAK INSURANCE COMPANY
Through its agent for service of process:
Secretary of State

Legal Services Sections

8585 Archives Ave.

Baton Rouge, La. 70809

BAYER CROPSCIENCE, INC, (SUCCESSOR TO
RHONE POULENC AG COMPANY,
FORMERLY AMCHEM PRODUCTS, INC.,
FORMERLY BENJAMIN FOSTER COMPANY)
(Via Louisiana Long Arm Statute)

through its agent for service of process:
Corporation Service Company

80 State Street

Albany, New York 12207

FOSTER WHEELER LLC

(formerly FOSTER WHEELER CORPORATION)
(Via Louisiana Long Arm Statute) |

The Corporation Trust Company

Corporation Trust Center

1209 Orange Street

Wilmington, Delaware 19801

GENERAL ELECTRIC COMPANY
Through its agent for service of process:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, La. 70816

HOPEMAN BROTHERS, INC.
(Via Louisiana Long Arm Statute)
C T CORPORATION SYSTEM
4701 Cox Rd Ste 285

Glen Allen, VA, 23060

THE MCCARTY CORPORATION
(SUCCESSOR TO MCCARTY BRANTON, INC.
ANT PREDECESSOR AND SUCCESSOR TO
MCCARTY INSULATION SALES, INC.)

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LONG ARM SERVICE

LONG ARM SERVICE

LONG ARM SERVICE
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Through its agent for service of process:
Paul H. Spaht

4232 Bluebonnet Blvd.

Baton Rouge, LA 70809

9. TAYLOR-SEIDENBACH, INC.
Through its agent for service of process:
Hal Shepard
731 South Scott St.
New Orleans, LA 70119

10. UNIROYAL, INC. LONG ARM SERVICE
(Via the Louisiana Long Arm Statute) ,
- 70 Great Hill Road
Naugatuck, CT 06770

ll. CBS CORPORATION LONG ARM SERVICE
(f/k/a WESTINGHOUSE ELECTRIC CORPORATION)
Through its agent for service of process:
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

12. EAGLE, INC. ;
Through its agent for service of process:
Susan B. Kohn
1100 Poydras St.
New Orleans, LA 70163

13. INTERNATIONAL PAPER COMPANY
Through its agent for service of process:
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, La 70816

14. ANCO INSULATIONS, INC.
Through its agent for service of process:
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, La 70816

15. | RILEY POWER, INC. (formerly BABCOCK BORSIG POWER, INC.
formerly DB RILEY, INC., formerly RILEY STOKER CORPORATION)
Through its agent for service of process:

CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816 _

16. PHARMACIA LLC (f/k/a PHARMACIA CORPORATION INDIVIDUALLY AND AS
SUCCESSOR TO MONSANTO COMPANY, SUCCESSOR TO MONSANTO
CHEMICAL COMPANY, AND SUCCESSOR TO LION OIL COMPANY)

Through its registered agent for service of process:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

17. SHELL OIL COMPANY
Through its agent for service of process:
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

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26.

OCCIDENTAL CHEMICAL CORPORATION (formerly, HOOKER CHEMICALS &
PLASTICS CORP., formerly, HOOKER CHEMICAL CORPORATION)

Through its agent for service of process:

CT Corporation System

3867 Plaza Tower Dr,

Baton Rouge, LA 70816

VULCAN MATERIALS COMPANY
Through its agent for service of process:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

GOODRICH CORPORATION LONG ARM SERVICE
(f/k/a THE BF GOODRICH COMPANY)

Through its agent for service of process:

CT Corporation System

28 Liberty St.

New York, New York 10005

AXIALL CORPORATION (DE)

(f/k/a GEORGIA GULF CORPORATION)
Through its agent for service of process:
CT Corporation System

3867 Plaza Tower Dr,

Baton Rouge, LA 70816

TEXACO INC. LONG ARM SERVICE
Through its agent for service of process:

The Prentice-Hall Corporation System, Inc.

2711 Centerville Road, Suite 400

Wilmington, DE 19808 —

CF INDUSTRIES NITROGEN, LLC (f/k/a TERRA MISSISSIPPI NITROGEN, INC.,
f/k/a MISSISSIPPI NITROGEN, INC., f/k/a TRIAD NITROGEN, INC.)

Through its agent for service of process:

Corporation Service Company

501 Louisiana Ave

Baton Rouge, LA 70802

BASF CORPORATION f/k/a INMONT CORPORATION f/k/a MEW CORPORATION
(OF DELAWARE) f/k/a BASF WYANDOTTE CORPORATION f/k/a WYANDOTTE
CHEMICALS CORPORATION

Through its registered agent:

CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

CONTINENTAL INSURANCE COMPANY (successor by merger to FIDELITY AND
CASUALTY COMPANY OF NEW YORR)

Through its agent for service of process:

Secretary of State

Legal Services Sections

8585 Archives Ave.

Baton Rouge, La. 70809

HOUSTON GENERAL INSURANCE COMPANY
Through its agent for service of process:

_ Secretary of State

Legal Services Sections
8585 Archives Ave. -
Bato Rouge, La. 70809

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27. BERKSHIRE HATHAWAY SPECIALTY INSURANCE COMPANY (f/k/a
STONEWALL INSURANCE COMPANY)
Through its agent for service of process:
Secretary of State
Legal Services Sections
8585 Archives Ave.
Baton Rouge, La. 70809

28. UNITED STATES FIDELITY AND GUARANTY COMPANY
Through its agent for service of process:
Secretary of State
Legal Services Sections
8585 Archives Ave.
Baton Rouge, La. 70809

29. FIRST STATE INSURANCE COMPANY |
Through its agent for service of process:
Secretary of State
Legal Services Sections
8585 Archives Ave.

Baton Rouge, La. 70809

30. UNION CARBIDE CORPORATION
Through its registered agent:
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

31. ENTERGY LOUISIANA, LLC
Through its agent for service of process:
John A. Braymer
446 North Blvd.
Baton Rouge, LA 70802

32. LIBERTY MUTUAL INSURANCE COMPANY
Through its agent for service of process:
Secretary of State
Legal Services Sections
8585 Archives Ave.

Baton Rouge, La. 70809

33. TRAVELERS INDEMNITY COMPANY
Through its agent for service of process:
Secretary of State
Legal Services Sections
8585 Archives Ave.

Baton Rouge, La. 70809

34. | LOUISIANA INSURANCE GUARANTY ASSOCIATION
(ON BEHALF OF AMERICAN MUTUAL LIABILITY INSURANCE COMPANY)
2142 Quail Run Drive
Baton Rouge, LA 70808

35. THE CAJUN COMPANY
Through its registered agent:
James L. Pate
1001 W. Pinhook Rd.
Suite 200
Lafayette, LA 70503

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